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 9
10                         UNITED STATES DISTRICT COURT
11                       SOUTHERN DISTRICT OF CALIFORNIA

12   COASTAL ENVIRONMENTAL RIGHTS                  Civil Case No.: '15CV2260 WQHDHB
13   FOUNDATION,
     a non-profit corporation,                     COMPLAINT FOR DECLARATORY
14                                                 AND INJUNCTIVE RELIEF AND
                                                   CIVIL PENALTIES
15              Plaintiff,

16        v.                                       (Federal Water Pollution Control Act,
17                                                  33 U.S.C. § 1251 et seq.)
     VERIDIAM, INC. a Delaware corporation,
18
19              Defendant.
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 1   Coastal Environmental Rights Foundation, (hereinafter referred to as “CERF” or
 2   “Plaintiff”), by and through its counsel, hereby alleges:
 3   I.    JURISDICTION AND VENUE
 4         1.       This is a civil suit brought under the citizen suit enforcement provisions of
 5    the Federal Water Pollution Control Act, 33 U.S.C. § 1251 et seq. (the “Clean Water
 6    Act” or the “CWA”). This Court has subject matter jurisdiction over the parties and this
 7    action pursuant to Section 505(a)(1) of the CWA, 33 U.S.C. § 1365(a)(1), and 28 U.S.C.
 8    § 1331 (an action for declaratory and injunctive relief arising under the Constitution and
 9    laws of the United States).
10         2.       On January 27, 2015, CERF issued a 60-day notice letter (“Notice Letter”)
11    to Veridiam, Inc., (“Veridiam” or “Defendant”) and the County of San Diego
12    (“County”), regarding their violations of the Clean Water Act, and of CERF’s intention
13    to file suit against Defendant. The Notice Letter was sent to the registered agent for
14    Veridiam, C.T. Corporation System, as required by 40 C.F.R. § 135.2(a)(2), the County
15    Clerk, as well as the Administrator of the United States Environmental Protection
16    Agency (“EPA”), the Administrator of EPA Region IX, the Executive Director of the
17    State Water Resources Control Board (“State Board”), and the Executive Officer of the
18    Regional Water Quality Control Board, San Diego Region (“Regional Board”) as
19    required by CWA, 33 U.S.C. § 1365(b)(1)(A). A true and correct copy of the Notice
20    Letter is attached hereto as Exhibit A and incorporated herein.
21         3.       More than sixty days has passed since the Notice Letter was served on
22    Defendant and the State and Federal agencies. Plaintiff is informed and believes, and
23    thereon alleges, that neither the EPA nor the State of California has commenced or is
24    diligently prosecuting an action to redress the violations alleged in this complaint. (33
25    U.S.C. § 1365(b)(1)(B)). This action is not barred by any prior administrative penalty
26    under Section 309(g) of the CWA, 33 U.S.C. § 1319(g).
27         4.       Venue is proper in the Southern District of California pursuant to Section
28    505(c)(1) of the CWA, 33 U.S.C. § 1365(c)(1), because the sources of the violations are
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 1    located within this judicial district.
 2   II.    INTRODUCTION
 3          5.      This complaint seeks relief for the Defendant’s unlawful discharge of
 4    pollutants into waters of the United States from its operations at 1717 Cuyamaca Street,
 5    El Cajon, California, 92020 (“Veridiam Facility” or “Site”). Specifically, Defendant
 6    discharges storm water runoff from the Site into storm drains, Forester Creek, San
 7    Diego River, and ultimately the Pacific Ocean (collectively referred to as the “Receiving
 8    Waters”). This complaint also seeks relief for Defendant’s violations of the filing,
 9    monitoring, reporting, discharge and management practice requirements, and other
10    procedural and substantive requirements of California’s General Permit for Discharges
11    Associated with Industrial Activities (National Pollution Discharge Elimination System
12    (“NPDES”) General Permit No. CAS000001, State Water Resources Control Board
13    Water Quality Order No. 97-03-DWQ, as amended by Order No. 97-03-DWQ)
14    (“Industrial Permit”). This complaint further seeks relief to prevent discharges in
15    violation of the Industrial Permit as amended by Order No. 2014-0057-DWQ. These are
16    ongoing and continuous violations of the Clean Water Act and the Industrial Permit.
17          6.      With every rainfall event, hundreds of millions of gallons of polluted
18    rainwater, originating from industrial operations such as the Veridiam Facility, pours
19    into San Diego storm drain systems, Forester Creek, the San Diego River and ultimately
20    the Pacific Ocean. This discharge of pollutants in storm water from industrial activities
21    such as the Veridiam Facility contributes to the impairment of downstream waters and
22    compromises or destroys their beneficial uses.
23   III.   PARTIES
24          A.    Coastal Environmental Rights Foundation
25          7.      Plaintiff CERF is a non-profit public benefit corporation organized under
26    the laws of the State of California.
27          8.      CERF’s office is located at 1140 South Coast Highway 101, Encinitas
28    California, 92024.
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 1           9.      CERF was founded by surfers in North San Diego County and active
 2    throughout California’s coastal communities. CERF was established to aggressively
 3    advocate, including through litigation, for the protection and enhancement of coastal
 4    natural resources and the quality of life for coastal residents. One of CERF’s primary
 5    areas of advocacy is water quality protection and enhancement.
 6           10.     CERF has over 1,000 members who live and/or recreate in and around
 7    Forester Creek, San Diego River, and the Pacific Ocean.
 8           11.     Members of CERF use and enjoy the Receiving Waters to fish, sail, boat,
 9    kayak, paddle board, surf, swim, hike, view wildlife, and engage in scientific study
10    including monitoring activities, among other activities. Defendant discharges pollutants
11    from the Sites to the Receiving Waters used by CERF’s members. Thus, Defendant’s
12    discharge of pollutants impairs CERF’s members’ uses and enjoyment of the Receiving
13    Waters.
14           12.     The interests of CERF’s members have been, are being, and will continue
15    to be adversely affected by the Defendant’s failure to comply with the Clean Water Act
16    and the Industrial Permit. The relief sought herein will redress the harms to Plaintiff
17    caused by Defendant’s activities. Continuing commission of the acts and omissions
18    alleged above will irreparably harm Plaintiff’s members, for which harm they have no
19    plain, speedy or adequate remedy at law.
20           B.     The Veridiam Facility Owners and/or Operators
21           13.     CERF is informed and believes that Veridiam, Inc. is a private corporation
22    organized under the laws of the State of Delaware, and is located in El Cajon,
23    California.
24           14.     CERF is informed and believes, and thereon alleges that the County of San
25    Diego is current owner of the property located at 1717 Cuyamaca Street, El Cajon,
26    California, 92020 (“Property”). CERF is informed and believes, and thereon alleges,
27    Veridiam, Inc. leases a portion of the Property from County.
28   /././
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 1   IV.   STATUTORY BACKGROUND
 2         A.      The Clean Water Act
 3         15.      Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a), prohibits the
 4    discharge of any pollutant into waters of the United States unless the discharge complies
 5    with various enumerated sections of the CWA. Among other things, Section 301(a)
 6    prohibits discharges not authorized by, or in violation of, the terms of an NPDES permit
 7    issued pursuant to Section 402 of the CWA, 33 U.S.C. § 1342.
 8         16.      Section 402(p) of the CWA establishes a framework for regulating
 9    municipal and industrial storm water discharges under the NPDES program. (33 U.S.C.
10    § 1342(p)). States with approved NPDES permit programs are authorized by Section
11    402(b) to regulate industrial storm water discharges through individual permits issued to
12    dischargers and/or through the issuance of a single, statewide general permit applicable
13    to all industrial storm water dischargers. (33 U.S.C. § 1342).
14         17.      Section 402(b) of the CWA allows each state to administer its own EPA-
15    approved permit for storm water discharges. (33 U.S.C. § 1342(b)). In California, the
16    State Board is charged with regulating pollutants to protect California’s water resources.
17         18.      The Industrial Permit is a statewide general NPDES permit issued by the
18    State Board pursuant to Section 402 of the CWA that regulates the discharge of
19    pollutants from industrial sites. (33 U.S.C. § 1342).
20         19.      Section 505(a)(1) of the CWA provides for citizen enforcement actions
21    against any “person” who is alleged to be in violation of an “effluent standard or
22    limitation… or an order issued by the Administrator or a State with respect to such a
23    standard or limitation.” (33 U.S.C. § 1365(a)(1)).
24         20.      An action for injunctive relief under the CWA is authorized by 33 U.S.C.
25    § 1365(a).
26         21.      Each separate violation of the Clean Water Act subjects the violator to a
27    penalty of up to $37,500 per day per violation for all violations occurring after January
28    27, 2009. (33 U.S.C. § 1319(d); Adjustment of Civil Monetary Penalties for Inflation,
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 1    40 C.F.R. §19.4).
 2         22.     Section 505(d) of the Clean Water Act permits prevailing parties to
 3    recover costs, including attorneys’ and experts’ fees. (33 U.S.C. § 1365(d)).
 4         B.     California’s Industrial Permit
 5         23.     The Industrial Permit, NPDES General Permit No. CAS000001, Water
 6    Quality Order No. 92-12-DWQ, as amended by Order No. 97-03-DWQ and Order No.
 7    2014-0057-DWQ is an NPDES permit adopted pursuant to Section 402 of the CWA, 33
 8    U.S.C. § 1342(b) and 40 C.F.R § 123.25. In order to discharge storm water lawfully in
 9    California, industrial dischargers must secure coverage under the Industrial Permit and
10    comply with its terms, or obtain and comply with an individual NPDES permit. The
11    Industrial Permit as amended pursuant to Order No. 2014-0057-DWQ, became effective
12    July 1, 2015 (“New Industrial Permit”).
13         24.     Failure to comply with the Industrial Permit or New Industrial Permit
14    constitutes a Clean Water Act violation. (Industrial Permit, § C.1; New Industrial Permit
15    §XXI.A.).
16         25.     Discharge Prohibitions A(1) of the Industrial Permit and III.B. of the New
17    Industrial Permit prohibit the direct or indirect discharge of materials other than storm
18    water (“non-storm water discharges”), which are not otherwise regulated by an NPDES
19    permit, to the waters of the United States. Discharge Prohibition A(2) of the Industrial
20    Permit and III.C. of the New Industrial Permit prohibit storm water discharges and
21    authorized non-storm water discharges which cause or threaten to cause pollution,
22    contamination, or nuisance.
23         26.     Effluent limitations B(3) of the Industrial Permit and V.A. of the New
24    Industrial Permit require facility operators to reduce or prevent pollutants associated
25    with industrial activity in storm water discharges and authorized non-storm water
26    discharges through the implementation of Best Available Technology Economically
27    Achievable (“BAT”) for toxic pollutants and Best Conventional Pollutant Control
28    Technology (“BCT”) for conventional pollutants.
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 1         27.     Industrial Permit Receiving Water Limitation C(1) and New Industrial
 2    Permit Receiving Water Limitation VI.B. prohibit storm water discharges and
 3    authorized non-storm water discharges to surface or groundwater that adversely impacts
 4    human health or the environment.
 5         28.     Industrial Permit Receiving Water Limitation C(2) and New Industrial
 6    Permit Receiving Water Limitation VI.A. prohibit storm water discharges and
 7    authorized non-storm water discharges that cause or contribute to an exceedance of an
 8    applicable water quality standard in a Statewide Water Quality Control Plan or the
 9    applicable Regional Board’s Basin Plan.
10         29.     Section A(1) and Provision E(2) of the Industrial Permit require
11    dischargers to have developed and implemented a Storm Water Pollution Prevention
12    Plan (“SWPPP”) by October 1, 1992, or prior to beginning industrial activities, that
13    meets all the requirements of the Industrial Permit. Sections X.A. and B. of the New
14    Industrial Permit require development and implementation of site-specific SWPPPs by
15    July 1, 2015 or upon commencement of industrial activity.
16         30.     The objective of the SWPPP is to identify and evaluate sources of
17    pollutants associated with industrial activities that may affect the quality of storm water
18    discharges from the Sites, and identify and implement site-specific Best Management
19    Practices (“BMPs”) to reduce or prevent pollutants associated with industrial activities
20    in storm water discharges. (Industrial Permit, Section A(2); New Industrial Permit,
21    Section X.C.1).
22         31.     To ensure its effectiveness, the SWPPP must be evaluated on an annual
23    basis, and it must be revised as necessary to ensure compliance with the Permit.
24    (Industrial Permit, Sections A(9), (10); New Industrial Permit, Sections XA. And
25    X.B.1.).
26         32.     Sections A(3) through A(10) of the Industrial Permit and Sections X.A to
27    X.I. of the New Industrial Permit set forth the requirements for a SWPPP.
28         33.     The SWPPP must include a site map showing the facility boundaries,
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 1    storm water drainage areas with flow patterns, nearby water bodies, the location of the
 2    storm water collection, conveyance and discharge system, structural control measures,
 3    areas of actual and potential pollutant contact, and areas of industrial activity. (Industrial
 4    Permit, Section A(4); New Industrial Permit, Section X.E.).
 5         34.         Dischargers are also required to prepare and implement a monitoring and
 6    reporting program (“M&RP”). (Industrial Permit, Sections E(3), B(1); New Industrial
 7    Permit, Section XI).
 8         35.      The objective of the M&RP is to ensure that storm water discharges are in
 9    compliance with the Industrial Permit (up to July 1, 2015) and New Industrial Permit
10    (July 1, 2015 and thereafter) Discharge Prohibitions, Effluent Limitations, and
11    Receiving Water Limitations. (Industrial Permit, Section B(2); New Industrial Permit,
12    Finding J.56).
13         36.      The Industrial Permit and New Industrial Permit require dischargers to
14    conduct visual observations for the presence of unauthorized non-storm water
15    discharges on a quarterly basis, to document the source of any discharge, and to report
16    the presence of any discolorations, stains, odors, and floating materials in the discharge.
17         37.      The Industrial Permit and New Industrial Permit require dischargers to
18    visually observe storm water discharges at all discharge locations from one storm event
19    per month during the wet season (October 1 - May 30) and to document the presence of
20    any floating and suspended materials, oil and grease, discolorations, turbidity, or odor in
21    the discharge, and the source of any pollutants.
22         38.      Both the Industrial Permit and New Industrial Permit require dischargers
23    to maintain records of observations, observation dates, locations observed, and
24    responses taken to eliminate unauthorized non-storm water discharges and to reduce or
25    prevent pollutants from contacting non-storm water and storm water discharges.
26         39.      The Industrial Permit requires dischargers to collect a sample from all
27    discharge points during the first storm event of the wet season and during at least one
28    other storm event of the wet season, for a total of two samples per wet season.
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 1    (Industrial Permit, Section (B)(5)). The New Industrial permit requires dischargers to
 2    collect and analyze storm water samples from two storm events with the first half of
 3    each reporting year (July 1 to December 31) and two from the second half (January 1 to
 4    June 30). (New Industrial Permit, Section XI.B.2.).
 5         40.     Dischargers must analyze each sample for pH, total suspended solids, oil
 6    and grease, and for toxic chemicals and other pollutants likely to be present in
 7    significant quantities in the storm water discharged from the facility. (Industrial Permit,
 8    Section B(5)(c); New Industrial Permit, Section XI.B.6).
 9         41.     Dischargers must submit “Annual Reports” to the Regional Board in July
10    of each year. (Industrial Permit, Section B(14); New Industrial Permit, Section XVI.A.).
11   V.    STATEMENT OF FACTS
12         A.    Veridiam Facility
13         42.     CERF is informed, believes, and thereon alleges the Veridiam Facility is in
14    the business of fabricating metals for medical, aerospace, defense, nuclear power,
15    aircraft engines, electronics, and gas industries. The Veridiam Facility belongs to Sector
16    AA of the Industrial Permit and its standard industrial classification (SIC) code is 3499.
17         43.     CERF is informed, believes, and thereon alleges the Veridiam Facility
18    manufactures specialty metal products using raw material steels and non-ferrous alloys.
19         44.     CERF is informed, believes, and thereon alleges the Site is comprised of a
20    main two-story building and several smaller single-story buildings. CERF is informed,
21    believes, and thereon alleges the Site is approximately 311,715 square feet and is
22    comprised of several areas serving unique functions. The acid neutralization area
23    contains acid and base solutions along with tanks of rinse water. The solutions also
24    contain various concentrations of metals from the parts processed.
25         45.     CERF is informed, believes, and thereon alleges hazardous materials,
26    including flammable liquids, acids, caustic solutions and toxic chemicals are received in
27    various containers including 55-gallon drums and may be stored outdoors.
28         46.      CERF is informed, believes, and thereon alleges metal parts come in
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 1     contact with a variety of chemicals including organic solvents such as toluene, and
 2     various acids and caustic solutions and deionized water. The metal parts are also
 3     machined and ground into fine metal dust and turnings.
 4          47.      CERF is informed, believes, and thereon alleges some raw materials,
 5     including metal alloys, and finished products are stored outdoors with exposure to storm
 6     water.
 7          48.      CERF is informed, believes, and thereon alleges that storm water is
 8     conveyed from the northern part of the Site to the south and east.
 9          49.      The Veridiam Facility discharges into storm drains that discharge into
10     Forester Creek, downstream to the San Diego River, and ultimately the Pacific Ocean.
11          50.      The EPA promulgated regulations for the Section 402 NPDES permit
12     program defining waters of the United States. (See 40 C.F.R. § 122.2). The EPA
13     interprets waters of the United States to include not only traditionally navigable waters
14     but also other waters, including waters tributary to navigable waters, wetlands adjacent
15     to navigable waters, and other waters including intermittent streams that could affect
16     interstate commerce. The CWA requires any person who discharges or proposes to
17     discharge pollutants into waters of the United States to submit an NPDES permit
18     application. (40 C.F.R. § 122.21).
19          51.      The Clean Water Act confers jurisdiction over non-navigable waters that
20     are tributary to traditionally navigable waters where the non-navigable water at issue
21     has a significant nexus to the navigable water. (See Rapanos v. United States, 547 U.S.
22     715 (2006)). A significant nexus is established if the “[receiving waters], either alone or
23     in combination with similarly situated lands in the region, significantly affect the
24     chemical, physical, and biological integrity of other covered waters.” (Id. at 780).
25          52.      A significant nexus is also established if waters that are tributary to
26     navigable waters have flood control properties, including functions such as the
27     reduction of flow, pollutant trapping, and nutrient recycling. (Id. at 783).
28          53.      Information available to CERF indicates that each of the surface waters
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 1     into which the Veridiam Facility discharges polluted storm water are tributaries to
 2     traditional navigable waters, such as the San Diego River and the Pacific Ocean.
 3          54.      CERF is informed and believes, and thereon alleges the Veridiam
 4     Facility’s polluted discharges cause and/or contribute to the impairment of water quality
 5     in Forester Creek. Elevated levels of total dissolved solids have resulted in the inability
 6     of the Forester Creek to support its beneficial uses.
 7          55.      Water Quality Standards are pollutant concentration levels determined by
 8     the State Board and the EPA to be protective of the beneficial uses of the receiving
 9     waters. Discharges above Water Quality Standards contribute to the impairment of the
10     receiving waters’ beneficial uses.
11          56.      The applicable Water Quality Standards include, but are not limited to,
12     those set out by the State of California in the Criteria for Priority Toxic Pollutants, 40
13     C.F.R. § 131.38 , (“California Toxics Rule” or “CTR”) and in the Basin Plan. The CTR
14     limits are, in part, as follows: lead – .065 milligrams per liter (mg/L); copper – .013
15     mg/L; zinc – .12 mg/L. These numeric criteria are set to protect human health and the
16     environment in the State of California. The CTR limits represented are the maximum
17     concentration levels permissible to achieve health and environmental protection goals.
18          57.      EPA Benchmarks are the pollutant concentrations above which EPA has
19     determined are indicative of a facility not successfully developing or implementing
20     BMPs that meet BAT for toxic pollutants and BCT for conventional pollutants. (See
21     Multi-Sector General Permits for Stormwater Discharges Associated with Industrial
22     Activity (MSGP), 2015, §§6.2.1, 8.AA, Table 8.AA-1). The benchmark values provide
23     an appropriate level to determine whether a facility’s storm water pollution prevention
24     measures are successfully implemented. (MSGP Fact Sheet, p. 52). Failure to conduct
25     and document corrective action and revision of control measures in response to
26     benchmark exceedances constitutes a permit violation. (Id., at p. 65).
27          58.      EPA has established the following benchmark values for Sector AA,
28     Subsector AA1, Fabricated Metal Products, except coating: iron – 1.0 mg/L; aluminum

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 1        0.75 mg/L; zinc1 – 0.04-.26 mg/L; nitrate plus nitrite nitrogen – 0.068 mg/L. (MSGP,
 2        §8.AA.5, Table 8.AA-1).
 3               59.        The Regional Board’s Basin Plan establishes water quality objectives,
 4        implementation plans for point and nonpoint source discharges, and prohibitions, and
 5        furthers statewide plans and policies intended to preserve and enhance the beneficial
 6        uses of all waters in the San Diego region. (See Basin Plan at 1-1). The Basin Plan
 7        identifies several beneficial uses for regional waters, including for Forester Creek. The
 8        Basin Plan establishes the following water quality objectives for the San Diego
 9        Hydrologic Unit: pH – not less than 6.5 and not greater than 8.5.
10               B.      Past and Present Industrial Activity at the Veridiam Facility
11               60.        CERF is informed, believes, and thereon alleges that in its Notice of Intent
12        to Obtain Coverage under Industrial Permit submitted to the Regional Board, the
13        Defendant list its operations as Standard Industrial Classification (“SIC”) code 3499 for
14        facilities primarily engaged in fabricated metal products (“Fabricated Metal Products”).
15               61.        CERF is informed, believes, and thereon alleges that the Defendant
16        engages in manufacturing specialty metal products using raw material steels and non-
17        ferrous alloys.
18               62.        The potential pollutant sources associated with the industrial activities at
19        the Veridiam Facility include, but are not limited to: equipment and machinery storage
20        areas, which may contribute rust and/or oils; garnet sand from the blasting of parts,
21        accumulating at the base of the machine and on the driveway near the machine shop;
22        loading and unloading operations for paints, chemicals, and raw materials; outdoor
23        storage activities for raw materials, paints, empty containers, corn cobs, chemicals, and
24        scrap metals; outdoor manufacturing or processing activities such as grinding, cutting,
25        degreasing, buffing, and brazing; onsite waste disposal practices for spent solvents,
26        sludge, pickling baths, shavings, ingot pieces, and refuse and waste piles.
27
28    1
          The zinc benchmark is dependent on water hardness.

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 1            63.    CERF is informed, believes, and thereon alleges that pollutants present in
 2     storm water discharged from the Veridiam Facility therefore include but are not limited
 3     to: toxic metals such as copper, iron, zinc, lead, and aluminum; petroleum products
 4     including oil, fuel, grease, transmission fluids, brake fluids, hydraulic oil and diesel fuel;
 5     chemical admixtures, acids and solvents; total suspended solids and pH-affecting
 6     substances; and fugitive and other dust, dirt and debris.
 7            64.    Based upon CERF’s investigation, CERF is informed and believes and
 8     thereon alleges Defendant stores metal and other materials outside where it is exposed
 9     to storm water.
10            65.    CERF is informed and believes and thereon alleges that there are drums
11     and other containers stored on-Site that are uncovered and/or uncontained.
12            66.    CERF is informed and believes and thereon alleges that several drains at
13     the Veridiam Facility convey storm water pollution off the site and into area storm
14     drains and the Forester Creek drainage channel.
15            67.    CERF is informed and believes that the Veridiam Facility lacks effective
16     BMPs to control the flow of storm water from the Facility into the Forester Creek
17     drainage channel. As a result, nitrates, metal particles, and other pollutants have been
18     and continue to be conveyed from the Veridiam Facility into the Forester Creek
19     drainage channel.
20            68.    As a result, CERF is informed and believes and thereon alleges that during
21     rain events at the Veridiam Facility, storm water carries pollutants from the outdoor
22     storage areas, bins and dumpsters, floor contaminants, equipment, uncontained metal
23     drums, and other sources directly into the storm drains and Forester Creek drainage
24     channel.
25            69.    CERF is informed and believes and thereon alleges that the Veridiam
26     Facility pollution control measures are ineffective in controlling the exposure of
27     pollutant sources to storm water at the Veridiam Facility.
28    /././
                                                    13
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 1              C.     The Veridiam Facility and its Associated Discharge of Pollutants
 2             70.       CERF is informed, believes, and thereon alleges that with every significant
 3        rain event, the Veridiam Facility discharges polluted storm water from the industrial
 4        activities at the facility via the City of San Diego’s storm drain system and into the
 5        Receiving Waters.
 6             71.       CERF is informed, believes, and thereon alleges that the Receiving Waters
 7        into which the Veridiam Facility discharges polluted storm water are waters of the
 8        United States and therefore the Industrial Permit properly regulates discharges to those
 9        waters.
10             72.       Because discharges from the Veridiam Facility contain metals and, the
11        Veridiam Facility’s polluted discharges cause and/or contribute to the impairment of
12        water quality in the Receiving Waters.
13             73.       CERF is informed, believes, and thereon alleges that the storm water
14        discharged from the Veridiam Facility has exceeded the CTR Water Quality Standards
15        applicable to zinc in California. For example, Defendant’s 2008-2009 annual report
16        monitoring data indicates levels of zinc as high as 19.0 mg/L which is over 150 times
17        the CTR limit of .12 mg/L and over 140 times the EPA Benchmark value for zinc of .13
18        mg/L.2 (MSGP, §8.AA.5, Table 8.AA.-1).
19             74.       More recently, Defendant’s 2011-2012 and 2013-2014 monitoring data
20        also indicates high levels of zinc, with exceedances ranging from .166 to 2.44 mg/L.
21             75.       CERF is informed, believes, and thereon alleges that the storm water
22        discharged from the Veridiam Facility has also exceeded the EPA Benchmark value for
23        aluminum. For example, Defendant’s 2008-2009 annual report monitoring data
24        indicates exceedance levels of aluminum at 8.72 and 8.22 mg/L, which are over ten
25        times the EPA Benchmark value for aluminum of .75 mg/L. (MSGP, §8.AA.5, Table
26        8.AA.-1).
27
      2
        This benchmark value is hardness-dependent. Assuming the 100-125 mg/L water hardness range applies, the benchmark is
28    .13 mg/L.

                                                             14
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 1          76.      More recently, Defendant’s 2011-2012 monitoring data indicated
 2     aluminum exceedance levels of .89 and 1.03.
 3          77.      CERF is informed, believes, and thereon alleges that the storm water
 4     discharged from the Veridiam Facility has exceeded the EPA Benchmark value for
 5     nitrate plus nitrite nitrogen. For example, Defendant’s annual report monitoring data
 6     indicates exceedance levels of nitrate plus nitrite nitrogen ranging from .7 to 3.34 mg/L
 7     for the last four years, and as high as 19.1 mg/L for the 2008-2009 reporting period. The
 8     EPA benchmark value for nitrate plus nitrite nitrogen is 0.68 mg/L. (MSGP, §8.AA.5,
 9     Table 8.AA.-1).
10          78.      CERF is informed, believes, and thereon alleges that storm water
11     discharged from the Veridiam Facility has also exceeded the San Diego Basin Plan
12     Water Quality Objective for hydrogen ion concentration (pH). For inland surface
13     waters, the pH Water Quality Objective is a range, from 6.5 to 8.5. Storm water
14     discharged from the Veridiam Facility has historically failed to meet the minimum
15     threshold of 6.5. For example, during the 2008-2009 reporting year, Defendant’s
16     monitoring data indicated a pH as low as 4.0. During the 2011-2012 and 2013-2014
17     reporting years, pH exceedances ranged from 5.99 to 6.38.
18          79.      CERF is informed, believes, and thereon alleges that during every
19     significant rain event that has occurred at the Veridiam Facility since January 27, 2010
20     through the present, Defendant has discharged and continues to discharge storm water
21     from the Veridiam Facility that contains pollutants at levels in violation of the
22     prohibitions and limitations set forth in the Industrial Permit and other applicable Water
23     Quality Standards.
24          80.      CERF is informed, believes, and thereon alleges, from visual observations,
25     sample results, and investigations available to CERF, the Defendant has failed and
26     continues to fail to develop and/or implement adequate BMPs to prevent the discharge
27     of polluted storm water from the Veridiam Facility. The inadequacy of the BMPs at the
28     Veridiam Facility is a result of the Defendant’s failure to develop and implement an
                                                   15
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 1     adequate SWPPP and companion M&RP for this Site. Therefore, storm water
 2     discharges from the Veridiam Facility contain pollutant concentration levels that are
 3     above both EPA Benchmarks and applicable Water Quality Standards.
 4          81.     CERF is informed, believes, and thereon alleges that since at least January
 5     27, 2010 through the present, Defendant has failed to develop and implement BMPs that
 6     meet the standards of BAT/BCT at the Veridiam Facility in violation of Effluent
 7     Limitation B(3) of the Industrial Permit. Each day that Defendant has failed and
 8     continues to fail to implement adequate BMPs to achieve BAT/BCT constitutes a
 9     separate violation of the Industrial Permit and the CWA.
10          82.     Based on its investigation of the Veridiam Facility, CERF is informed and
11     believes that Defendant has failed to develop and implement an adequate SWPPP since
12     at least January 27, 2010 through the present. Each day that Defendant has failed and
13     continues to fail to implement an adequate SWPPP constitutes a separate violation of
14     the Industrial Permit and the CWA.
15          83.     CERF is informed and believes that Defendant has failed to submit written
16     reports to the Regional Board identifying additional BMPs necessary to achieve
17     BAT/BCT at the Veridiam Facility since at least January 27, 2010, in violation of
18     Receiving Water Limitations C(3) and C(4) of the Industrial Permit and New Industrial
19     Permit Receiving Water Limitation VI.A. Each day that Defendant has operated the
20     Veridiam Facility without meeting this reporting requirement of the Industrial Permit
21     constitutes a separate violation of the Industrial Permit and the CWA.
22          D.    Defendant’s Monitoring Program
23          84.     The Veridiam Facility is required to sample at least two storm events
24     every rainy season in accordance with the sampling and analysis procedures set forth at
25     Industrial Permit Section B(5). These procedures require that a sample be taken from all
26     discharge locations at the Veridiam Facility and that at least two samples are taken
27     during the wet season: (1) one in the first storm event of a particular wet season; and (2)
28     at least one other storm event in the wet season. (Industrial Permit, Sections B(5) and
                                                   16
                                      Complaint for Declaratory and Injunctive Relief and Civil Penalties
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 1     B(7)).
 2          85.       CERF is informed and believes that despite the extremely high levels of
 3     pollutants reported in the samples that were taken at the Veridiam Facility, the
 4     Defendant has not sampled as required.
 5          86.       CERF is informed and believes that Defendant has not successfully
 6     sampled and reported during the 2009-2010, 2012-2013, and 2013-2014 reporting years
 7     by failing to sample the required two storm events, despite there being numerous rain
 8     events sufficient to generate runoff occurring during the business hours at the Veridiam
 9     Facility.
10          87.       Information available to Plaintiff indicates that Defendant has not
11     submitted any reports pursuant to Receiving Water Limitation C(4)(a) within 60-days of
12     becoming aware of levels in its storm water exceeding the EPA Benchmark values or
13     applicable Water Quality Standards, or filed any reports describing the Veridiam
14     Facility’s noncompliance with the Industrial Permit pursuant to Section C(11)(d) of the
15     Industrial Permit.
16    VI.          CLAIMS FOR RELIEF
17                                    FIRST CAUSE OF ACTION
18                           Discharges of Contaminated Storm Water in
                    Violation of the Industrial Permit’s Discharge Prohibitions and
19                      Receiving Water Limitations and the Clean Water Act
20                             (Violations of 33 U.S.C. §§ 1311(a), 1342)
            88.       Plaintiff incorporates the preceding paragraphs as if fully set forth herein.
21
            89.       Plaintiff is informed and believes, and thereon alleges, that as a result of
22
       the operations at the Veridiam Facility, during every significant rain event, storm water
23
       containing pollutants harmful to fish, plant, bird life, and human health is discharged
24
       from the Veridiam Facility to the Receiving Waters.
25
            90.       Plaintiff is informed and believes, and thereon alleges, that the
26
       Defendant’s discharges of contaminated storm water have caused and continue to cause
27
       pollution, contamination, and/or nuisance to the waters of the United States in violation
28
                                                     17
                                        Complaint for Declaratory and Injunctive Relief and Civil Penalties
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 1     of Discharge Prohibition A(2) of the Industrial Permit and Section VI.C of the New
 2     Industrial Permit.
 3          91.      Plaintiff is informed and believes, and thereon alleges, that these
 4     discharges of contaminated storm water have, and continue to, adversely affect human
 5     health and the environment in violation of Receiving Water Limitation C(1) of the
 6     Industrial Permit and Section VI.B. of the New Industrial Permit.
 7          92.      Plaintiff is informed and believes, and thereon alleges, that these
 8     discharges of contaminated storm water have caused or contributed to and continue to
 9     cause or contribute to an exceedance of Water Quality Standards in violation of
10     Receiving Water Limitation C(2) of the Industrial Permit and VI.A. of the New
11     Industrial Permit.
12          93.      Plaintiff is informed and believes, and thereon alleges, that from at least
13     January 27, 2010 through the present, Defendant has discharged, and continues to
14     discharge, contaminated storm water from the Veridiam Facility to Receiving Waters in
15     violation of the prohibitions of the Industrial Permit. Thus, Defendant is liable for civil
16     penalties for at least 37 violations of the Industrial Permit and the CWA.
17          94.      Plaintiff is informed and believes, and thereon alleges, that Defendant’s
18     violations of the Industrial Permit and the CWA are ongoing.
19          95.      Defendant will continue to be in violation of the Industrial Permit
20     requirements each day the Veridiam Facility discharges contaminated storm water in
21     violation of Industrial Permit prohibitions.
22          96.      Every day that Defendant has discharged and/or continues to discharge
23     polluted storm water from the Veridiam Facility in violation of the Industrial Permit is a
24     separate and distinct violation of Section 301(a) of the CWA, 33 U.S.C. § 1311(a).
25          97.      By committing the acts and omissions alleged above, Defendant is subject
26     to an assessment of civil penalties for each and every violation of the CWA occurring
27     from January 27, 2010 to the present pursuant to Sections 309(d) and 505 of the CWA,
28     33 U.S.C. §§ 1319(d) and 1365, and the Adjustment of Civil Monetary Penalties for
                                                   18
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 1     Inflation, 40 C.F.R. §12.4.
 2          98.     An action for injunctive relief under the CWA is authorized by 33 U.S.C.
 3     § 1365(a). Continuing commission of the acts and omissions alleged above would
 4     irreparably harm Plaintiff and the citizens of the State of California, for which harm
 5     they have no plain, speedy, or adequate remedy at law.
 6          Wherefore, Plaintiff prays judgment against Defendant as set forth hereafter.
 7
                               SECOND CAUSE OF ACTION
 8      Failure to Develop and/or Implement BMPs that Achieve Compliance with Best
 9      Available Technology Economically Achievable and Best Conventional Pollutant
       Control Technology In Violation of the Industrial Permit and the Clean Water Act
10                           (Violations of 33 U.S.C. §§1311, 1342)
11          99.     Plaintiff incorporates the preceding paragraphs as if fully set forth herein.
12          100.    Plaintiff is informed and believes, and thereon alleges that Defendant has
13     failed to develop and/or implement BMPs that achieve compliance with BAT/BCT
14     requirements of the Industrial Permit and the CWA.
15          101.    Sampling of the Veridiam Facility’s storm water discharges as well as
16     CERF’s observations and local agency inspections of the Veridiam Facility demonstrate
17     that Defendant has not developed and has not implemented BMPs that meet the
18     standards of BAT/BCT. Thus, Defendant is in violation of Effluent Limitations of the
19     Industrial Permit and New Industrial Permit.
20          102.    Plaintiff is informed and believes and thereon alleges that Defendant has
21     been in daily and continuous violation of the BAT/BCT requirements of the Industrial
22     Permit and the CWA every day since at least January 27, 2010, and of the BAT/BCT
23     requirements of the New Industrial Permit since July 1, 2015.
24          103.    Plaintiff is informed and believes and thereon alleges that Defendant’s
25     violations of the Effluent Limitations and the CWA are ongoing.
26          104.    Defendant will continue to be in violation every day the Veridiam Facility
27     operates without adequately developing and/or implementing BMPs that achieve
28     BAT/BCT to prevent or reduce pollutants associated with industrial activity in storm
                                                   19
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 1     water discharges at the Veridiam Facility.
 2          105.    Every day that Defendant operates the Veridiam Facility without
 3     adequately developing and/or implementing BMPs that achieve BAT/BCT in violation
 4     of the Industrial Permit or New Industrial Permit is a separate and distinct violation of
 5     Section 301(a) of the CWA, 33 U.S.C. § 1311(a).
 6          106.    By committing the acts and omissions alleged above, Defendant is subject
 7     to an assessment of civil penalties for each and every violation of the CWA occurring
 8     from January 27, 2010 to the present pursuant to Sections 309(d) and 505 of the CWA,
 9     33 U.S.C. §§ 1319(d) and 1365, and the Adjustment of Civil Monetary Penalties for
10     Inflation, 40 C.F.R. §12.4.
11          107.    An action for injunctive relief under the CWA is authorized by 33 U.S.C.
12     § 1365(a). Continuing commission of the acts and omissions alleged above would
13     irreparably harm Plaintiff and the citizens of the State of California, for which harm
14     they have no plain, speedy, or adequate remedy at law.
15          Wherefore, Plaintiff prays judgment against Defendant as set forth hereafter.
16                                THIRD CAUSE OF ACTION
17                      Failure to Develop and/or Implement an Adequate
                              Storm Water Pollution Prevention Plan
18                  in Violation of the Industrial Permit and Clean Water Act
19                            (Violations of 33 U.S.C. §§ 1311, 1342)

20
            108.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.
21
            109.    Plaintiff is informed and believes, and thereon alleges that Defendant has
22
       failed to develop and/or implement an adequate SWPPP for the Veridiam Facility that
23
       meets the requirements set out in Section A and Provision E of the Industrial Permit and
24
       Section X of the New Industrial Permit.
25
            110.    Defendant has been in violation of the SWPPP requirements every day
26
       since at least January 27, 2010.
27
            111.    Defendant’s violations of the Industrial Permit, New Industrial Permit and
28
                                                   20
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 1     the CWA are ongoing.
 2          112.    Defendant will continue to be in violation of the SWPPP requirements
 3     every day the Veridiam Facility operates with an inadequately developed and/or
 4     implemented SWPPP for the Veridiam Facility.
 5          113.    Each day that Defendant operates the Veridiam Facility without
 6     developing and/or implementing an adequate SWPPP is a separate and distinct violation
 7     of Section 301(a) of the CWA 33 U.S.C. §1311(a).
 8          114.    By committing the acts and omissions alleged above, Defendant is subject
 9     to an assessment of civil penalties for each and every violation of the CWA occurring
10     from January 27, 2010 to the present pursuant to Sections 309(d) and 505 of the CWA,
11     33 U.S.C. §§ 1319(d) and 1365, and the Adjustment of Civil Monetary Penalties for
12     Inflation, 40 C.F.R. §12.4.
13          115.    An action for injunctive relief under the CWA is authorized by 33 U.S.C.
14     § 1365(a). Continuing commission of the acts and omissions alleged above would
15     irreparably harm Plaintiff and the citizens of the State of California, for which harm
16     they have no plain, speedy, or adequate remedy at law.
17           Wherefore, Plaintiff prays judgment against Defendant as set forth hereafter.
18                                FOURTH CAUSE OF ACTION
                                      Failure to Implement an
19                       Adequate Monitoring and Reporting Program
20               In Violation of the Industrial Permit and the Clean Water Act
                              (Violations of 33 U.S.C. §§ 1311, 1342)
21
            116.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.
22
            117.    Plaintiff is informed and believes, and thereon alleges that Defendant has
23
       failed to develop and/or implement an adequate M&RP for the Veridiam Facility as
24
       required by Section B and Provision E(3) of the Industrial Permit and Section XI of the
25
       New Industrial Permit.
26
            118.    Plaintiff is informed and believes, and thereon alleges, that conditions at
27
       the Veridiam Facility, as determined via sampling of storm water discharges from the
28
                                                   21
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 1     Veridiam Facility, and the annual reports submitted by Defendant all demonstrate that
 2     the Veridiam Facility has not implemented an adequate M&RP that meets the
 3     requirements of the Industrial Permit and New Industrial Permit.
 4             119.    Plaintiff is informed and believes, and thereon alleges that Defendant has
 5     failed and continues to fail to collect samples from all discharge points during all storm
 6     events in violation of Section B(5) of the Industrial Permit.
 7             120.    Plaintiff is informed and believes, and thereon alleges that Defendant has
 8     failed and continues to fail to identify inadequacies in its SWPPP and BMPs.
 9             121.    Defendant’s violations of the Industrial Permit, New Industrial Permit and
10     the CWA are ongoing.
11             122.    Defendant will continue to be in violation of the Industrial Permit, New
12     Industrial Permit and the CWA each day the Veridiam Facility operates with an
13     inadequately implemented M&RP.
14             123.    Each day Defendant operates the Veridiam Facility without implementing
15     an adequate M&RP for the Veridiam Facility is a separate and distinct violation of
16     Section 301(a) of the CWA, 33 U.S.C. §1311(a).
17             124.    By committing the acts and omissions alleged above, Defendant is subject
18     to an assessment of civil penalties for each and every violation of the CWA occurring
19     from January 27, 2010 to the present pursuant to Sections 309(d) and 505 of the CWA,
20     33 U.S.C. §§ 1319(d) and 1365, and the Adjustment of Civil Monetary Penalties for
21     Inflation, 40 C.F.R. §12.4.
22             125.    An action for injunctive relief under the CWA is authorized by 33 U.S.C.
23     § 1365(a). Continuing commission of the acts and omissions alleged above would
24     irreparably harm Plaintiff and the citizens of the State of California, for which harm
25     they have no plain, speedy, or adequate remedy at law.
26             Wherefore, Plaintiff prays judgment against Defendant as set forth hereafter.
27     /././
28     /././
                                                     22
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 1                                 FIFTH CAUSE OF ACTION
                       Failure to Conduct Required Rain Event Sampling in
 2                               Violation of the Industrial Permit
 3          126.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.
 4          127.    Plaintiff is informed and believes, and thereon alleges, that Defendant is in
 5     violation of Industrial Permit Section B(7) and B(5) by failing to collect at least two
 6     samples of storm water runoff, including one set of samples during the first storm event
 7     of the wet season.
 8          128.    Plaintiff is informed and believes, and thereon alleges, that Defendant
 9     failed to collect two samples during the 2009-2010, 2012-2013, and 2013-2014 wet
10     seasons.
11          129.    Information available to CERF indicates that there were numerous
12     qualifying rain events during the 2009, 2010, 2012, 2013 and 2014 wet seasons.
13          130.    Defendant has been in violation of the Industrial Permit and the CWA for
14     each day the Veridiam Facility operates without sampling as required by the Industrial
15     Permit.
16          131.    By committing the acts and omissions alleged above, Defendant is subject
17     to an assessment of civil penalties for each and every violation of the CWA occurring
18     from January 27, 2010 to the presents, pursuant to Sections 309(d) and 505 of the CWA,
19     33 U.S.C. §§1319(d) and 1365, and the Adjustment of Civil Monetary Penalties for
20     Inflation, 40 C.F.R. §12.4.
21          132.    An action for injunctive relief under the CWA is authorized by 33 U.S.C.
22     §1365(a). Continuing commission of the omissions alleged above would irreparably
23     harm the Plaintiff and the citizens of the State of California, for which harm they have
24     no plain, speedy, or adequate remedy at law.
25          Wherefore, Plaintiff prays judgment against Defendant as set forth hereafter.
26                                 SIXTH CAUSE OF ACTION
                                    Failure to Submit Reports in
27                               Violation of the Industrial Permit
28          133.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.
                                                   23
                                      Complaint for Declaratory and Injunctive Relief and Civil Penalties
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 1          134.     Plaintiff is informed and believes, and thereon alleges, that Defendant’s
 2     annual reports did not meet the monitoring and reporting requirements of the Industrial
 3     Permit in violation of Section B(13) and B(14) of the Industrial Permit.
 4          135.     Plaintiff is informed and believes, and thereon alleges, that the
 5     Defendant’s annual reports were inaccurate and stated that the SWPPP’s BMPs address
 6     existing potential pollutant sources when they did not, in violation of the Industrial
 7     Permit Section B.
 8          136.     Plaintiff is informed and believes, and thereon alleges, that Defendant’s
 9     annual reports were false and stated that the SWPPP was up to date when it was not, in
10     violation of Section B of the Industrial Permit.
11          137.     Plaintiff is informed and believes, and thereon alleges, that Defendant
12     failed to submit a written report identifying what additional BMPs will be implemented
13     to achieve Water Quality Standards even though Defendant discharge exceeded
14     receiving Water Quality Standards, in violation of Receiving Water Limitations C(3)
15     and C(4) of the Industrial Permit.
16          138.     Defendant has been in violation each day the Veridiam Facility operates
17     without reporting as required by the Industrial Permit.
18          139.     Defendant’s violations of the Industrial Permit and the CWA are ongoing.
19          140.     Every day Defendant operates the Veridiam Facility without reporting as
20     required by the Industrial Permit is a separate and distinct violation of the Industrial
21     Permit and Section 301(a) of the Clean Water Act, 33 U.S.C. §1311(a).
22          141.     Defendant has been in daily and continuous violation of the Industrial
23     Permit’s reporting requirements every day since at least January 27, 2010.
24          142.     By committing the acts and omissions alleged above, Defendant is subject
25     to an assessment of civil penalties for each and every violation of the CWA occurring
26     from January 27, 2010 to the present pursuant to Sections 309(d) and 505 of the CWA,
27     33 U.S.C. §§ 1319(d) and 1365, and the Adjustment of Civil Monetary Penalties for
28     Inflation, 40 C.F.R. §12.4.
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                                       Complaint for Declaratory and Injunctive Relief and Civil Penalties
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 1            143.        An action for injunctive relief under the CWA is authorized by 33 U.S.C.
 2     § 1365(a). Continuing commission of the acts and omissions alleged above would
 3     irreparably harm Plaintiff and the citizens of the State of California, for which harm
 4     they have no plain, speedy, or adequate remedy at law.
 5            Wherefore, Plaintiff prays judgment against Defendant as set forth hereafter.
 6    VII.       RELIEF REQUESTED
 7            144.        Wherefore, Plaintiff respectfully requests that this Court grant the
 8     following relief:
 9                   a.       A Court order declaring Defendant to have violated and to be in
10      violation of Section 301(a) of the CWA 33 U.S.C. § 1311(a) for its unlawful discharges
11      of pollutants from the Veridiam Facility in violation of the substantive and procedural
12      requirements of the Industrial Permit, and as of July 1, 2015, the New Industrial Permit;
13                   b.       A Court order enjoining the Defendant from violating the substantive
14      and procedural requirements of the New Industrial Permit;
15                   c.       A Court order assessing civil monetary penalties of $37,500 per day
16      per violation for each violation of the CWA at the Veridiam Facility occurring since
17      January 27, 2010, as permitted by 33 U.S.C. § 1319(d) and Adjustment of Civil
18      Monetary Penalties for Inflation, 40 C.F.R. § 19.4;
19                   d.       A Court order requiring Defendant to take appropriate actions to
20      restore the quality of waters impaired by its activities;
21                   e.       A Court order awarding CERF its reasonable costs of suit, including
22      attorney, witness, expert, and consultant fees, as permitted by Section 505(d) of the
23      Clean Water Act, 33 U.S.C. § 1365(d);
24    /././
25    /././
26    /././
27    /././
28    /././
                                                        25
                                           Complaint for Declaratory and Injunctive Relief and Civil Penalties
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 1               f.    Any other relief as this Court may deem appropriate.
 2     Dated: October 8, 2015                    Respectfully submitted,
 3                                                COAST LAW GROUP LLP
 4
 5                                                By: s/Marco A. Gonzalez
                                                  MARCO A. GONZALEZ
 6                                                Attorneys for Plaintiff
 7                                                COASTAL ENVIRONMENTAL
                                                  RIGHTS FOUNDATION
 8                                                E-mail: marco@coastlawgroup.com
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                                   Complaint for Declaratory and Injunctive Relief and Civil Penalties
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                          EXHIBIT A
                           60 Day Notice Letter
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                                                                                1140 S. Coast Hwy 101
                                                                                Encinitas, CA 92024
                                                                                Tel 760-942-8505
                                                                                Fax 760-942-8515
                                                                                www.coastlawgroup.com


 January 27, 2015

 Veridiam, Inc                                          VIA CERTIFIED MAIL – RETURN RECEIPT REQUESTED
 C/O Registered Agent
 818 West Seventh St 2nd FL
 Los Angeles, CA 90017

 Clerk of the Board of Supervisors
 1600 Pacific Highway, Room 402
 San Diego, California 92101


        Re:     Notice of Violation and Intent to File Clean Water Act Citizens’ Suit
                [33 U.S.C. § 1365] 60-Day Notice

 Dear Mr. Hollander and Clerk of the Board,

          Please accept this letter on behalf of Coastal Environmental Rights Foundation ("CERF"
 or “Citizen Group”) regarding violations of the Federal Water Pollution Control Act (Clean Water
 Act) occurring at the Veridiam Facility located at 1717 Cuyamaca St, El Cajon, CA 92020
 (WDID No. 937I020299). This letter constitutes the CERF’s notice of intent to sue for violations
 of the Clean Water Act and National Pollution Discharge Elimination System (NPDES) Permit
 No. CAS000001 (General Industrial Permit), as more fully set forth below.

          Section 505(b) of the Clean Water Act requires that sixty (60) days prior to the initiation
 of a citizen's civil lawsuit in Federal District Court under section 505(a) of the Act, a citizen must
 give notice of the violations and the intent to sue to the violator and various agency officials. (33
 U.S.C. § 1365(b)(1)(A)). In compliance with section 1365, this letter provides notice of the
 Veridiam Facility’s violations and of CERF’s intent to sue.

        I.      BACKGROUND

                A.      The Veridiam Facility

         Veridiam, Inc owns and operates a facility located at 1717 Cuyamaca St, El Cajon, CA
 92020 (“Veridiam Facility” or “Facility”). The Veridiam Facility has been in operation at this
 location since at least 2006. Veridiam conducts metal tubing, electrical discharge machining,
 electro chemical sharpening, swiss style turning, laser cutting, alloy fabrication, and other metal
 fabrication services. Veridiam, Inc leases the Facility from the County of San Diego.

         The owners and operators of the aforementioned Facility operating at 1717 Cuyamaca
 Street, Veridiam, Inc and County of San Diego, are collectively referred to herein as the
 “Veridiam Facility Owners and/or Operators.”




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                   B.       Storm Water Pollution From Industrial Facilities

         Storm water pollution results from materials and chemicals washed into the storm drains
 from streets, gutters, neighborhoods, industrial sites, parking lots and construction sites. This
 type of pollution is significant because storm water is often untreated and flows directly to
 receiving waters, including lakes, rivers, or ultimately the ocean. Storm water runoff associated
 with industrial facilities in particular has the potential to negatively impact receiving waters and
 contributes to the impairment of downstream water bodies. Industrial areas are known to result
 in excessive wet-weather storm water discharges, as well as contaminated dry weather entries
 into the storm drain system.1

        Pollutants associated with Sector AA (Fabricated Metal Products) include total
 suspended solids, oil and grease, spent solvents, metals, paints, heavy metals, nitrates, gas
 and diesel fuel and fuel additives, and other pollutants. (See Exhibit A, Industrial Stormwater
 Fact Sheet, Sector AA).

                   C.       Forester Creek, San Diego River, Pacific Ocean

         Forester Creek is on the 303(d) list as impaired for numerous constituents, including
 fecal coliform, selenium, total dissolved solids, and pH. The San Diego River is also impaired for
 numerous constituents, including toxicity.

                   D.       Discharges From Veridiam Facility

        Polluted discharges from the Veridiam Facility flow into Forester Creek, a tributary to the
 San Diego River, and ultimately to the Pacific Ocean. The Facility has been enrolled under the
 General Industrial Permit since 2006. According to the most recent Annual Report, the Facility
 has four or five discharge locations to Forester Creek.

                   E.       Citizen Group: Coastal Environmental Rights Foundation

         CERF is a California nonprofit public benefit corporation founded by surfers dedicated to
 the protection, preservation and enhancement of the environment, wildlife, natural resources,
 local marine waters and other coastal natural resources. CERF’s interests are and will be
 adversely affected by the Veridiam Facility Owners and/or Operators’ actions. CERF’s mailing
 address is 1140 S. Coast Highway 101, Encinitas, CA 92024. Its telephone number is (760)
 942-8505.

          Members of CERF use and enjoy the waters into which pollutants from the Veridiam
 Facility’s ongoing illegal activities are discharged, including Forester Creek, the San Diego River
 and the Pacific Ocean. The public and members of CERF use these receiving waters to fish,
 sail, boat, kayak, surf, stand-up paddle, swim, scuba dive, birdwatch, view wildlife, and to
 engage in scientific studies. The discharge of pollutants by the Veridiam Facility affects and
 impairs each of these uses. Thus, the interests of CERF’s members have been, are being, and
 1 Illicit Discharge Detection and Elimination: Technical Appendices, Appendix K, Specific Considerations for Industrial

 Sources of Inappropriate Pollutant Entries to the Storm Drainage System (Adapted from Pitt, 2001)




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 will continue to be adversely affected by the Veridiam Facility Owners and/or Operators’ failure
 to comply with the Clean Water Act and the General Industrial Permit.

         II.     CLEAN WATER ACT VIOLATIONS

         The Clean Water Act (CWA) was amended in 1972 to provide that the discharge of
 pollutants to waters of the United States from any point source is effectively prohibited unless
 the discharge is in compliance with an NPDES permit. The 1987 amendments to the CWA
 added Section 402(p) that establishes a framework for regulating municipal and industrial storm
 water discharges under the NPDES Program. In 1990, US EPA published final regulations that
 require storm water associated with industrial activity that discharges either directly to surface
 waters or indirectly through municipal separate storm sewers be regulated by an NPDES permit.
 Any person who discharges storm water associated with industrial activities must comply with
 the terms of the General Industrial Permit in order to lawfully discharge pollutants. (33 U.S.C.
 §§1311(a), 1342; 40 CFR §126(c)(1); General Industrial Permit Fact Sheet, p. vii [“All facility
 operators filing an NOI after the adoption of this General Permit must comply with this General
 Permit.”]).

         As enrollees under the General Industrial Permit, the Veridiam Facility Owners and/or
 Operators have failed and continue to fail to comply with the General Industrial Permit, as
 detailed below. Failure to comply with the General Industrial Permit is a Clean Water Act
 violation. (General Industrial Permit, §C.1).

                 A.       The Veridiam Facility Discharges Contaminated Storm
                          Water in Violation of the General Industrial Permit

         Discharge Prohibition A(2) of the General Industrial Permit prohibits storm water
 discharges and authorized non-storm water discharges which cause or threaten to cause
 pollution, contamination, or nuisance. Receiving Water Limitation C(1) of the Storm Water
 Permit prohibits storm water discharges to surface or groundwater that adversely impact human
 health or the environment. In addition, receiving Water Limitation C(2) prohibits storm water
 discharges and authorized non-storm water discharges, which cause or contribute to an
 exceedance of any water quality standards, such as the CTR or applicable Basin Plan water
 quality standards. ”The California Toxics Rule ("CTR"), 40 C.F.R. 131.38, is an applicable water
 quality standard.” (Baykeeper v. Kramer Metals, Inc. (C.D.Cal. 2009) 619 F.Supp.2d 914, 926).
 “In sum, the CTR is a water quality standard in the General Permit, Receiving Water Limitation
 C(2). A permittee violates Receiving Water Limitation C(2) when it ‘causes or contributes to an
 exceedance of’ such a standard, including the CTR.” (Id. at 927).

        If a discharger violates Water Quality Standards, the General Industrial Permit and the
 Clean Water Act require that the discharger implement more stringent controls necessary to
 meet such Water Quality Standards.(General Industrial Permit, Fact Sheet p. viii; 33 U.S.C. §
 1311(b)(I)(C)). The Veridiam Facility Owners and/or Operators have failed to comply with this
 requirement, routinely violating Water Quality Standards without implementing BMPs to achieve
 BAT/BCT or revising the Facility’s SWPPP pursuant to section (C)(3).

       As demonstrated by sample data submitted by the Veridiam Facility Owners and/or
 Operators, from at least January 27, 2010 through the present, the Facility Owners and/or




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 Operators have discharged and continue to discharge storm water containing pollutants at
 levels in violation of the above listed prohibitions and limitations during every significant rain
 event. The Veridiam Facility’s sampling data reflects 37 discharge violations. The Facility’s own
 sampling data is not subject to impeachment. (Baykeeper, supra, 619 F.Supp. 2d at 927, citing
 Sierra Club v. Union Oil Co. of Cal., (9th Cir. 1987) 813 F.2d 1480, 1492 ["when a permittee's
 reports indicate that the permittee has exceeded permit limitations, the permittee may not
 impeach its own reports by showing sampling error"]).

         This data further demonstrates the Veridiam Facility continuously discharges
 contaminated storm water during rain events which have not been sampled. (See Exhibit B,
 Rainfall data). Samples highlighted in peach below indicate exceedances of the applicable EPA
 Multi-Sector General Permit benchmarks as well.2

                                  Annual Sampling Data                             Applicable CTR Limit
                                       Veridiam                                     (mg/L) (freshwater)
       Violation         Date/time of    Parameter     Result                     Maximum Continuous
          No.              sample                      (mg/L)                       Conc.        Conc.
                          collection
             1            10/5/2012      Zinc Total      2.44                         .120            .120
             2            10/5/2011      Zinc Total      2.09                         .120            .120
             3            10/5/2011      Zinc Total     0.918                         .120            .120
             4            4/11/2012      Zinc Total     0.651                         .120            .120
             5           12/13/2012      Zinc Total     0.644                         .120            .120
             6             2/7/2014      Zinc Total      0.62                         .120            .120
             7           12/13/2012      Zinc Total       0.6                         .120            .120
             8            4/11/2012      Zinc Total     0.467                         .120            .120
             9            10/5/2011      Zinc Total     0.293                         .120            .120
            10             2/7/2014      Zinc Total       0.2                         .120            .120
            11            4/11/2012      Zinc Total     0.166                         .120            .120

       In addition, the sampling data reveals numerous exceedances of San Diego Basin Plan
 Water Quality Objectives.
                                          Annual Sampling Data

   Violation      Date/time            Parameter                     Result                  Basin Plan WQO
      No.         of sample                                          (mg/L)                      (mg/L)
                  collection
        1          10/5/2011                pH                        6.38                   Not < 6.5 or > 8.5
        2          10/5/2011                pH                         6.2                   Not < 6.5 or > 8.5
        3           2/7/2014                pH                        6.14                   Not < 6.5 or > 8.5
        4         12/13/2012                pH                        6.06                   Not < 6.5 or > 8.5
        5          10/5/2011                pH                        5.99                   Not < 6.5 or > 8.5

 2 2008 Storm Water Multi-Sector General Permit for Industrial Activities, Sector AA, Table 8.AA-1




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         Every day the Veridiam Facility Owners and/or Operators discharged or continue to
 discharge polluted storm water in violation of the Discharge Prohibitions and Receiving Water
 Limitations of the General Industrial Permit is a separate and distinct violation of the Permit and
 Section 301(a) of the Clean Water Act, 33 U.S.C. §1311(a). The Veridiam Facility Owners
 and/or Operators are subject to civil penalties for all violations of the Clean Water Act occurring
 since January 27, 2010. These violations are ongoing and the Veridiam Facility Owners and/or
 Operators' violations will continue each day contaminated storm water is discharged in violation
 of the requirements of the General Industrial Permit. (See Exhibit B, Rainfall data). CERF will
 include additional violations when information becomes available.

                   B.        Failure to Develop and/or Implement BMPs that Achieve Compliance
                             with Best Available Technology Economically Achievable and Best
                             Conventional Pollutant Control Technology

        Effluent Limitation (B)(3) of the Storm Water Permit requires dischargers to reduce or
 prevent pollutants associated with industrial activity in storm water discharges and authorized
 non-storm water discharges through implementation of the Best Available Technology
 Economically Achievable (BAT) for toxic pollutants3 and Best Conventional Pollutant Control
 Technology (BCT) for conventional pollutants.4

        EPA Benchmarks are the pollutant concentrations which indicate whether a facility has
 successfully developed or implemented BMPs that meet the BAT/BCT. For fabricated metal
 products manufacturing facilities, Sector AA (SIC 3499), the EPA has instituted the following
 benchmarks.5

                        Parameter                                          Benchmark Monitoring
                                                                        Cutoff Concentration (mg/L)
                     Total Aluminum                                                  .75
                        Total Iron                                                   1.0
                       Total Zinc                                       .04-.26 (Hardness Dependent)
                                                                .13 at 100-125 mg/L Water Hardness Range
              Nitrate plus Nitrite Nitrogen                                          .68

        Discharges with pollutant concentration levels above EPA Benchmarks and/or the CTR
 demonstrate that a facility has failed to develop and/or implement BMPs that achieve
 compliance with BAT for toxic pollutants and BCT for conventional pollutants. The Facility’s
 annual reports demonstrate consistent exceedances of not only the CTR, but also EPA
 benchmarks.




 3 Toxic pollutants are found at 40 CFR § 401.15 and include, but are not limited to: lead, nickel, zinc, silver, selenium,

 copper, and chromium.
 4 Conventional pollutants are listed at 40 CFR § 401.16 and include biological oxygen demand, total suspended

 solids, pH, fecal coliform, and oil and grease.
 5 2008 Storm Water Multi-Sector General Permit for Industrial Activities, Sector AA, Table 8.AA-1




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                                                Annual Sampling Data

  Violation     Date/time of                Parameter              Result       EPA Benchmark
     No.          sample                                           (mg/L)           (mg/L)
                 collection
       1         10/5/2011                  Aluminum                1.03                .75
       2         10/5/2011                  Aluminum                 .89                .75
       3         10/5/2011         Nitrate plus Nitrite Nitrogen    3.34                .68
       4         10/5/2011         Nitrate plus Nitrite Nitrogen     2.6                .68
       5         10/5/2011         Nitrate plus Nitrite Nitrogen    1.78                .68
       6        12/13/2012         Nitrate plus Nitrite Nitrogen    1.73                .68
       7          2/7/2014         Nitrate plus Nitrite Nitrogen    1.26                .68
       8          2/7/2014         Nitrate plus Nitrite Nitrogen    0.88                .68
       9         4/11/2012         Nitrate plus Nitrite Nitrogen    0.83                .68
      10         4/11/2012         Nitrate plus Nitrite Nitrogen     0.7                .68

         Thus, the storm water discharge sampling data demonstrates that the Veridiam Facility
 Owners and/or Operators have not developed and/or implemented BMPs that meet the
 standards of BAT/BCT. (See Baykeeper, supra, 619 F.Supp. 2d at 925 [“Repeated and/or
 significant exceedances of the Benchmark limitations should be relevant” to the determination of
 meeting BAT/BCT]).

         Sources of pollutants at the Veridiam Facility include but are not limited to: parts and tool
 cleaning, sand blasting, metal surface cleaning, manufacture of metal components, cleanup of
 spills and drips, surface treatment, galvanizing, heavy equipment use and storage, equipment
 and vehicle maintenance, removal of applied chemicals, and storage of uncoated steel.
         Pollutants associated with the Facility include but are not limited to: total suspended
 solids, oil and grease, spent solvents, metals, paints, heavy metals, nitrates, gas and diesel fuel
 and fuel additives, and other pollutants.

         Despite repeated violations of the aforementioned metrics, the Facility BMPs have not
 been updated to ensure protection of water quality. Thus, the Facility Owners and/or Operators
 are seriously in violation of Effluent Limitation (B)(3) of the Storm Water Permit. Every day the
 Veridiam Facility Owners and/or Operators operate with inadequately developed and/or
 implemented BMPs in violation of the BAT/BCT requirements in the General Industrial Permit is
 a separate and distinct violation of the Storm Water Permit and Section 301(a) of the Clean
 Water Act. (33 U.S.C. § 1311 (a)). The Veridiam Owners and/or Operators have been in daily
 and continuous violation of the BAT/BCT requirements of the General Industrial Permit every
 day since at least January 27, 2010, and are subject to penalties for all violations since at least
 this date. These violations are ongoing and the Veridiam Facility Owners and/or Operators will
 continue to be in violation every day they fail to develop and/or implement BMPs that achieve
 BAT/BCT to prevent or reduce pollutants associated with industrial activity in storm water
 discharges at the Facility. Thus, the Veridiam Facility Owners and/or Operators are liable for
 civil penalties for 1,825 violations of the General Industrial Permit and the Clean Water Act.




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                 C.       Failure to Develop and/or Implement an Adequate
                          Storm Water Pollution Prevention Plan

          Section A(1) and Provision E(2) of the General Industrial Permit require dischargers to
 have developed and implemented a SWPPP by October 1, 1992, or prior to beginning industrial
 activities, that meets all of the requirements of the Storm Water Permit. The objective behind the
 SWPPP requirements is to identify and evaluate sources of pollutants associated with industrial
 activities that may affect the quality of storm water discharges from the Veridiam Facility, and
 implement site-specific BMPs to reduce or prevent pollutants associated with industrial activities
 in storm water discharges. (General Industrial Permit, Section A(2)). To ensure its effectiveness,
 the SWPPP must be evaluated on an annual basis pursuant to the requirements of Section
 A(9), and must be revised as necessary to ensure compliance with the Permit. (General
 Industrial Permit, Section A(9), (10)).

         City of El Cajon storm water consultant inspections of the Veridiam Facility, as well as
 sampling data from storm water discharges at the Facility, which are set forth in detail above,
 indicate that the Veridiam Facility Owners and/or Operators have not developed or implemented
 an adequate SWPPP that meets the requirements of Section A of the General Industrial Permit.
 Indeed, historical photographs and inspections show a variety of materials, including
 components and metal materials, stored without cover or containment. (See Exhibit C,
 [Inspection Reports Detailing Need for Corrective Action]).

        For over five years the Veridiam Facility has been exceeding water quality standards:
 the Basin Plan objectives, the CTR, and EPA benchmarks. Nonetheless, the SWPPP has not
 been updated with new BMPs. The SWPPP also requires the aforementioned evaluations be
 submitted with the Annual Reports, but, on information available to CERF, such evaluations
 have not been submitted with the Annual Reports.

         Every day the Veridiam Facility Owners and/or Operators operate the Facility without an
 adequate SWPPP and/or with an inadequately developed and/or implemented SWPPP is a
 separate and distinct violation of the General Industrial Permit and Section 301(a) of the Clean
 Water Act. (33 U.S.C. § 1311(a)). The Veridiam Facility Owners and/or Operators have been in
 daily and continuous violation of the General Industrial Permit's SWPPP requirements every day
 since at least January 27, 2010. These violations are ongoing and the Veridiam Facility Owners
 and/or Operators will continue to be in violation every day they fail to revise, develop, and/or
 implement an adequate SWPPP for the Veridiam Facility.

           The Veridiam Facility Owners and/or Operators are thus subject to penalties for all
 SWPPP-related violations of the General Industrial Permit and the Clean Water Act occurring
 since at least January 27, 2010. Thus, the Veridiam Facility Owners and/or Operators are liable
 for civil penalties for 1,825 violations of the General Industrial Permit and the Act.

                 E.       Failure to Monitor

         Sections B(5) and (7) of the General Industrial Permit require dischargers to visually
 observe and collect samples of storm water discharged from all locations where storm water is
 discharged. Facility operators, including the Veridiam Facility Owners and/or Operators, are
 required to collect samples from at least two qualifying storm events each wet season, including




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 one set of samples during the first storm event of the wet season. Required samples must be
 collected by Facility operators from all discharge points and during the first hour of the storm
 water discharge from the Facility.

          The Veridiam Facility Owners and/or Operators failed to sample two storm events as
 required for the 2009-2010, 2012-2013, and 2013-2014 wet seasons, despite the fact that there
 were numerous qualifying rain events during these wet seasons. (See Exhibit B). The Veridiam
 Facility Owners and/or Operators are thus subject to penalties for these monitoring violations in
 accordance with the General Industrial Permit – punishable by a minimum of $37,500 per day of
 violation. (33 U.S.C. §1319(d); 40 CFR 19.4).

         III.    REMEDIES

          CERF’s action will seek all remedies available under the Clean Water Act. (33 U.S.C. §
 1365(a)(d)).“ In suits under Section 505 of the Clean Water Act, citizens have access to the
 same remedies available to the EPA.” (Student Public Interest Research Group, Inc. v. Georgia-
 Pacific Corp., 615 F. Supp. 1419, 1425 (D.N.J. 1985), citing Middlesex County Sewerage Auth.
 v. Nat'l Sea Clammers Ass'n, 453 U.S. 1, 13-14 (1981)). Pursuant to Section 309(d) of the
 Clean Water Act and the Adjustment of Civil Monetary Penalties for Inflation (40 C.F .R. § 19.4)
 each separate violation of the Clean Water Act subjects the violator to a penalty of up to
 $37,500 per day for all violations occurring during the period commencing five years prior to the
 date upon which this notice is served.

          In addition to civil penalties, CERF will seek injunctive relief preventing further violations
 of the Clean Water Act pursuant to sections 505(a) and (d), declaratory relief, and such other
 relief as permitted by law. Section 505(d) of the Clean Water Act permits prevailing parties to
 recover costs, including attorneys' and experts' fees. CERF will seek to recover all of their costs
 and fees pursuant to section 505(d).

        CERF has retained legal counsel to represent them in this matter. All communications
 should be addressed to:

                          Marco A. Gonzalez
                          COAST LAW GROUP LLP
                          1140 S. Coast Highway 101
                          Encinitas, CA 92024
                          Tel: (760) 942-8505 x 102
                          Fax: (760) 942-8515
                          Email: marco@coastlawgroup.com




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         Upon expiration of the 60-day notice period, CERF will file a citizen suit under Section
 505(a) of the Clean Water Act for the above-referenced prior, continuing, and anticipated
 violations. During the 60-day notice period, however, CERF will entertain settlement
 discussions. If you wish to pursue such discussions in the absence of litigation, please contact
 Coast Law Group LLP immediately.

                                              Sincerely,

                                              COAST LAW GROUP LLP



                                              Marco A. Gonzalez



                                              Livia Borak
                                              Attorneys for
                                              Coastal Environmental Rights Foundation

 CC:

  Jared Blumenfeld, Region 9 Administrator             Dave Gibson, Executive Officer
  Alexis Strauss, Deputy Regional Administrator        Catherine Hagan, Staff Counsel
  U.S. EPA, Region 9                                   San Diego Regional Water Quality Control Board
  75 Hawthorne Street                                  2375 Northside Drive, Suite 100
  San Francisco, CA, 94105                             San Diego, CA 92108-2700
  Gina McCarthy                                        Thomas Howard
  EPA Administrator                                    Executive Director
  Mail Code 4101M                                      State Water Resources Control Board
  US EPA Ariel Rios Building (AR)                      P.O. Box 100
  1200 Pennsylvania Avenue N.W.                        Sacramento, CA 95812–0110
  Washington, DC 20004
  Office of County Counsel
  County Administration Center
  1600 Pacific Highway, Room 355
  San Diego, CA 92101

 Index of Attachments

 Exhibit A.      Industrial Stormwater Fact Sheet, Sector AA
 Exhibit B.      Rainfall Data
 Exhibit C.      City of El Cajon (DMAX) Site Inspections




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                          EXHIBIT A


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Industrial Stormwater
Fact Sheet Series
                                                     Sector AA: Fabricated Metal Products
                                                                  Manufacturing Facilities
              U.S. EPA Office of Water
              EPA-833-F-06-042
              December 2006




What is the NPDES stormwater permitting program for industrial
activity?
Activities, such as material handling and storage, equipment maintenance and cleaning, industrial
processing or other operations that occur at industrial facilities are often exposed to stormwater. The
runoff from these areas may discharge pollutants directly into nearby waterbodies or indirectly via
storm sewer systems, thereby degrading water quality.
In 1990, the U.S. Environmental Protection Agency (EPA) developed permitting regulations under the
National Pollutant Discharge Elimination System (NPDES) to control stormwater discharges associated
with eleven categories of industrial activity. As a result, NPDES permitting authorities, which may be
either EPA or a state environmental agency, issue stormwater permits to control runoff from these
industrial facilities.

What types of industrial facilities are required to obtain permit
coverage?
This fact sheet specifically discusses stormwater discharges from the fabricated metal products
manufacturing facilities as defined by Standard Industrial Classification (SIC) Major Groups 34 and 39.
Facilities and products in this group fall under the following categories, all of which require coverage
under an industrial stormwater permit:
    Fabricated metal products, except machinery and transportation equipment and cutting
     (SIC 3411-3499)
    Jewelry, silverware, and plated ware (SIC 3911-3915)
    Coating, engraving, and allied services (SIC 3479)

This fact sheet does not cover discharges from establishments not requiring permit coverage including
those engaged in manufacturing and rolling of ferrous and nonferrous metals, forgings or stampings,
electrolytic, or other processes for refining copper from ore.

What does an industrial stormwater permit require?
Common requirements for coverage under an industrial stormwater permit include development of a
written stormwater pollution prevention plan (SWPPP), implementation of control measures, and sub­
mittal of a request for permit coverage, usually referred to as the Notice of Intent or NOI. The SWPPP
is a written assessment of potential sources of pollutants in stormwater runoff and control measures
that will be implemented at your facility to minimize the discharge of these pollutants in runoff from
the site. These control measures include site-specific best management practices (BMPs), maintenance
plans, inspections, employee training, and reporting. The procedures detailed in the SWPPP must be
implemented by the facility and updated as necessary, with a copy of the SWPPP kept on-site. The in­
dustrial stormwater permit also requires collection of visual, analytical, and/or compliance monitoring
data to determine the effectiveness of implemented BMPs. For more information on EPA’s industrial
stormwater permit and links to State stormwater permits, go to www.epa.gov/npdes/stormwater
and click on “Industrial Activity.”


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Industrial Stormwater Fact Sheet Series
Sector AA: Fabricated Metal Products Manufacturing Facilities



 What pollutants are associated with my facility’s activities?
 Pollutants conveyed in stormwater discharges from facilities involved with the manufacturing of
 fabricated metal products will vary. There are a number of factors that influence to what extent
 industrial activities and significant materials can affect water quality.
      Geographic location
      Topography
      Hydrogeology
      Extent of impervious surfaces (e.g., concrete or asphalt)
      Type of ground cover (e.g., vegetation, crushed stone, or dirt)
      Outdoor activities (e.g., material storage, loading/unloading, vehicle maintenance)
      Size of the operation
      Type, duration, and intensity of precipitation events

 The activities, pollutant sources, and pollutants detailed in Table 1 are commonly found at fabricated
 metal products manufacturing facilities.

 Table 1. Common Activities, Pollutant Sources, and Associated Pollutants at Fabricated Metal
 Products Manufacturing Facilities
  Activity                       Pollutant Source                               Pollutant
  Tool workpiece interface/      Used metal working fluid with fine metal       Total suspended solids (TSS), chemical oxygen
  shaving, chipping              dust                                           demand (COD), oil and grease
  Parts/tools cleaning, sand     Solvent cleaners, abrasive cleaners, alkaline Spent solvents, TSS, acid/alkaline waste, oil
  blasting, metal surface        cleaners, acid cleaners, rinse waters
  cleaning, removal of applied
                                 Solvents, cold and hot dips, cleaning parts,   Acid, coolants, clean composition, degreaser,
  chemicals
                                 degreasing                                     mineral spirits, pickle liquor, spent caustic,
                                                                                sludge.
  Making structural              Cuttings, scraps, turnings, fines              Metals
  components
  Painting operations            Paint and paint thinner spills, sanding,       Paints, spent solvents, heavy metals, TSS
                                 spray painting
                                 Empty containers, paint application wastes, Paint wastes, thinner, varnish, heavy metals,
                                 spills, over spraying, storage areas        spent chlorinated solvents
  Cleanup of spills and drips    Used absorbent materials                       TSS, spilled material
  Transportation or storage of   Wood dunnage/pallets                           BOD, TSS
  materials
  Metal preparation              Grinding, welding, sawing, shaving,            Steel scraps, aluminum scraps, brass, copper,
                                 brazing, bending, cutting, etching             dust, chips and borings, steel scale, teflon,
                                                                                manganese.
  Surface treatment              Finishing, plating, case hardening,            Acid, aromatic solvent, corn cob, lubricants,
                                 chemical coating, coating, polishing,          sand, oil, pH, nitrates, nitrites, carbon,
                                 rinsing, abrasive cleaning, electroplating     phosphates, borates, nitrogen, oily sludge,
                                                                                nickel, chromium, hydrofluoric acid.
  Galvanizing                    Spills, leaks, transporting materials          Acid solution, phosphates, zinc chromate,
                                                                                hexavalent chromium, nickel.
  Heavy equipment use and        Leaking fluids, fluids replacement, washing Oil, heavy metals, organics, fuels, TSS,
  storage                        equipment, use on poor surface area, soil   hydraulic oil, diesel fuel, gasoline
                                 disturbance
  Equipment/vehicle              Leaking fluids, fluids replacement, washing Oil, grease
  maintenance                    equipment
                                 Vehicle fueling                                Gas/diesel fuel, fuel additives



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Sector AA: Fabricated Metal Products Manufacturing Facilities



 Table 1. Common Activities, Pollutant Sources, and Associated Pollutants at Fabricated Metal
 Products Manufacturing Facilities (continued)
  Activity                      Pollutant Source                            Pollutant
  Storage of uncoated           Stored on porous pavement                   Aluminum, lead, zinc, copper, iron, oxide, oil,
  structural steel                                                          nickel, manganese.
  Storing galvanized steel      Galvanizing material drippage or leaching   Metals: zinc, nickel, cadmium, chromium.
  directly on the ground
  Vehicle/equipment traffic     Soil disturbance and erosion                TSS from erosion, hydraulic fluid loss/spillage
  Cleaning equipment/vehicles   Chemicals disposed improperly, spillage     Oil, grease, surfactants, chromates, acid,
                                                                            hydroxide, nitric acid



 What BMPs can be used to minimize contact between stormwater
 and potential pollutants at my facility?
 A variety of BMP options may be applicable to eliminate or minimize the presence of pollutants in
 stormwater discharges from fabricated metal products manufacturing facilities. You will likely need
 to implement a combination or suite of BMPs to address stormwater runoff at your facility. Your first
 consideration should be for pollution prevention BMPs, which are designed to prevent or minimize
 pollutants from entering stormwater runoff and/or reduce the volume of stormwater requiring
 management. Prevention BMPs can include regular cleanup, collection and containment of debris
 in storage areas, and other housekeeping practices, spill control, and employee training. It may also
 be necessary to implement treatment BMPs, which are engineered structures, intended to treat
 stormwater runoff and/or mitigate the effects of increased stormwater runoff peak rate, volume, and
 velocity. Treatment BMPs are generally more expensive to install and maintain and include oil-water
 separators, wet ponds, and proprietary filter devices.
 Measures to control pollutants at metal fabricating operations should focus primarily on the storage
 of waste and raw materials, chemical storage areas, and equipment storage and service areas. Since
 most of the operations occur indoors, procedures are often only needed to minimize exposure of
 pollutants to stormwater runoff in association with the handling and transporting of materials. Of
 primary importance is the control of activities and use of chemicals that have been identified as
 potential sources of pollutants.
 The most effective discharge controls for these facilities are BMPs targeted toward source control. This
 includes utilizing inside storage as much as possible and implementing programs for recycling scrap
 materials. Many of these practices require the use of covers, indoor storage, and indoor operations.
 Some structural measures would provide an additional control to reduce the potential for exposure
 at these facilities. These include source reduction diversion dikes, grass swales, vegetative covers, and
 sedimentation ponds. Preventive controls are typically low in cost and relatively easy to implement,
 as the majority of the facilities in this industry already employ these practices. In addition, directing
 flows to privately owned treatment works or retention ponds will be the most effective measure.
 The industry also must give consideration to the non-stormwater discharges associated with
 improper disposal of materials from the indoor processes due to the extensive use of chemicals in
 the preparation and finishing phases of metal preparation and fabrication. The industry also involves
 grinding, welding, and sanding operations that will require special consideration to control potential
 pollutants that could accumulate and be subject to stormwater runoff.
 Most of the measures commonly implemented to reduce pollutants in stormwater associated with
 the fabricated metals industry are generally uncomplicated practices. Some of the practices may be
 predicated on the size of the operation, the types of processes that are exercised from a full-scale
 plant operation to a more specialized company that conducts only a portion of the operations usually
 found in the fabricating industry.



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 All fabricated metal products facilities should implement BMPs in the following areas of the site:
      Metal fabricating areas
      Storage areas for raw metal
      Receiving, unloading, and loading areas
      Heavy equipment storage
      Metal working fluid areas
      Unprotected liquid storage tanks
      Chemical cleaners and rinse water
      Raw steel collection areas
      Paints and painting equipment
      Vehicle and equipment maintenance areas
      Hazardous waste storage areas
      Transporting chemicals to storage areas
      Finished products (galvanized)
      Wooden pallets and empty drums

 BMPs must be selected and implemented to address the following:

 Good Housekeeping Practices
 Good housekeeping is a practical, cost-effective way to maintain a clean and orderly facility to
 prevent potential pollution sources from coming into contact with stormwater. It includes establishing
 protocols to reduce the possibility of mishandling materials or equipment and training employees
 in good housekeeping techniques. Common areas where good housekeeping practices should be
 followed include trash containers and adjacent areas, material storage areas, vehicle and equipment
 maintenance areas, and loading docks. Good housekeeping practices must include a schedule for
 regular pickup and disposal of garbage and waste materials and routine inspections of drums, tanks,
 and containers for leaks and structural conditions. Practices also include containing and covering
 garbage, waste materials, and debris. Involving employees in routine monitoring of housekeeping
 practices has proven to be an effective means of ensuring the continued implementation of these
 measures.

 Minimizing Exposure
 Where feasible, minimizing exposure of potential pollutant sources to precipitation is an important
 control option. Minimizing exposure prevents pollutants, including debris, from coming into contact
 with precipitation and can reduce the need for BMPs to treat contaminated stormwater runoff. It can
 also prevent debris from being picked up by stormwater and carried into drains and surface waters.
 Examples of BMPs for exposure minimization include covering materials or activities with temporary
 structures (e.g., tarps) when wet weather is expected or moving materials or activities to existing
 or new permanent structures (e.g., buildings, silos, sheds). Even the simple practice of keeping a
 dumpster lid closed can be a very effective pollution prevention measure.

 Erosion and Sediment Control
 BMPs must be selected and implemented to limit erosion on areas of your site that, due to
 topography, activities, soils, cover, materials, or other factors are likely to experience erosion. Erosion
 control BMPs such as seeding, mulching, and sodding prevent soil from becoming dislodged and
 should be considered first. Sediment control BMPs such as silt fences, sediment ponds, and stabilized
 entrances trap sediment after it has eroded. Sediment control BMPs should be used to back-up
 erosion control BMPs.


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 Management of Runoff
 Your SWPPP must contain a narrative evaluation of the appropriateness of stormwater management
 practices that divert, infiltrate, reuse, or otherwise manage stormwater runoff so as to reduce the
 discharge of pollutants. Appropriate measures are highly site-specific, but may include, among others,
 vegetative swales, collection and reuse of stormwater, inlet controls, snow management, infiltration
 devices, and wet retention measures.
 A combination of preventive and treatment BMPs will yield the most effective stormwater
 management for minimizing the offsite discharge of pollutants via stormwater runoff. Though not
 specifically outlined in this fact sheet, BMPs must also address preventive maintenance records or
 logbooks, regular facility inspections, spill prevention and response, and employee training.
 All BMPs require regular maintenance to function as intended. Some management measures have
 simple maintenance requirements, others are quite involved. You must regularly inspect all BMPs to
 ensure they are operating properly, including during runoff events. As soon as a problem is found,
 action to resolve it should be initiated immediately.
 Implement BMPs, such as those listed below in Table 2 for the control of pollutants at fabricated
 metal product manufacturing facilities, to minimize and prevent the discharge of pollutants in
 stormwater. Identifying weaknesses in current facility practices will aid the permittee in determining
 appropriate BMPs that will achieve a reduction in pollutant loadings. BMPs listed in Table 2 are
 broadly applicable to fabricated metal product manufacturing facilities; however, this is not a
 complete list and you are recommended to consult with regulatory agencies or a stormwater
 engineer/consultant to identify appropriate BMPs for your facility.

 Table 2. BMPs for Potential Pollutant Sources at Fabricated Metal Products Manufacturing Facilities
  Pollutant Source            BMPs
  Metal fabricating areas      Sweep fabrication areas frequently to avoid heavy accumulation of steel ingots, fines,
                                and scrap.
                               Absorb dust through a vacuum system to avoid accumulation on roof tops and onto the
                                ground.
                               Sweep all accessible paved areas on a regular basis.
                               Maintain floors in a clean and dry condition using dry cleanup techniques.
                               Remove waste and dispose of regularly.
                               Train employees on good housekeeping measures.
  Raw material storage         Store materials in a covered area whenever possible.
  areas
                               Organize storage areas so there is easy access in case of a spill.
                               Label stored materials to aid in identifying spill contents.
                               Minimize the amount of material stored to avoid corrosive activity from long-term
                                exposed materials.
                               Dike or berm the area to prevent or minimize run-on.
                               Keep area neat and orderly; stack neatly on pallets or off the ground.
                               Cover exposed materials.
  Receiving, unloading, and    Confine loading/unloading activities to designated areas outside drainage pathways and
  loading areas                 away from surface waters.
                               Close storm drains during loading/unloading activities in surrounding areas.




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 Table 2. BMPs for Potential Pollutant Sources at Fabricated Metal Products Manufacturing Facilities
 (continued)
  Pollutant Source            BMPs
  Receiving, unloading, and    Use a dead-end sump where materials could be directed.
  loading areas (continued)
                               Inspect containers for leaks or damage prior to loading/unloading.
                               Avoid loading/unloading materials in the rain or provide cover or other protection for
                                loading docks.
                               Provide diversion berms, dikes or grassed swales around the perimeter of the area to limit
                                run-on.
                               Cover loading and unloading areas and perform these activities on an impervious pad to
                                enable easy collection of spilled materials.
                               Slope the impervious concrete floor or pad to collect spills and leaks and convey them to
                                proper containment and treatment.
                               Provide overhangs or door skirts to enclose trailer ends at truck loading/unloading docks
                               For rail transfer, a drip pan shall be installed within the rails to collect spillage from the
                                tank.
                               Where liquid or powdered materials are transferred in bulk to/from truck or rail cars,
                                ensure hose connection points at storage containers are inside containment areas, or drip
                                pans are used in areas where spillage may occur which are not in a containment area.
                               Enclose material handling systems.
                               Cover materials entering and leaving areas.
                               Use dry cleanup methods instead of washing the areas down.
                               Regularly sweep area to minimize debris on the ground.
                               Provide dust control if necessary. When controlling dust, sweep and/or apply water or
                                materials that will not impact surface or ground water.
                               Develop and implement spill prevention, containment, and countermeasure (SPCC) plans.
                               Train employees in spill prevention, control, cleanup, and proper materials management
                                techniques.
  Heavy equipment storage      Vehicles should be stored indoors when possible.
  areas
                               If stored outdoors, use gravel, concrete, or other porous surfaces to minimize or
                                prevent heavy equipment from creating ditches or other conveyances that would cause
                                sedimentation runoff and increase TSS loadings.
                               Provide covering for outdoor storage areas.
                               Divert drainage to the grass swales, filter strips, retention ponds, or holding tanks.
                               Direct drainage systems away from high traffic areas into collection systems.
                               Clean equipment prior to storage.
  Metal working fluid areas    Store used metal working fluid with fine metal dust indoors.
                               Use tight sealing lids on all fluid containers.
                               Use straw, clay absorbents, sawdust, or synthetic absorbents to confine or contain any
                                spills.
                               Establish recycling programs for used fluids when possible.
                               Conduct daily inspections of each machine to identify problems and trends and reduce
                                fluid waste.




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 Table 2. BMPs for Potential Pollutant Sources at Fabricated Metal Products Manufacturing Facilities
 (continued)
  Pollutant Source             BMPs
  Metal working fluid areas     Use pumps, spigots, and funnels when transferring metal working fluid to reduce the
  (continued)                    amount of lost fluid and the risk of spilling fluids.
                                Fix leaking seals and gadgets to prevent leaks.
  Unprotected liquid            If area is uncovered, connect sump outlet to sanitary sewer (if possible) or an oil/water
  storage tanks                  separator, catch basin filter, etc. If connecting to a sanitary sewer check with the system
                                 operator to ensure that the discharge is acceptable. If implementing separator or filter
                                 technologies ensure that regular inspections and maintenance procedures are in place.
                                Develop and implement spill plans.
                                Train employees in spill prevention and control.
                               Above ground tanks
                                Provide secondary containment, such as dikes, with a height sufficient to contain a
                                 spill (the greater of 10 percent of the total enclosed tank volume or 110 percent of the
                                 volume contained in the largest tank).
                                If containment structures have drains, ensure that the drains have valves, and that valves
                                 are maintained in the closed position. Institute protocols for checking/testing stormwater
                                 in containment areas prior to discharge.
                                Use double-walled tanks.
                                Keep liquid transfer nozzles/hoses in secondary containment area.
                                Include overflow protection.
                               Portable containers/drums
                                Store drums indoors when possible.
                                Store drums, including empty or used drums, in secondary containment with a roof or
                                 cover (including temporary cover such as a tarp that prevents contact with precipitation).
                                Provide secondary containment, such as dikes or portable containers, with a height
                                 sufficient to contain a spill (the greater of 10 percent of the total enclosed tank volume
                                 or 110 percent of the volume contained in the largest tank).
                                Clearly label drum with its contents.
  Chemical cleaners and         Use drip pans and other spill devices to collect spills or solvents and other liquid cleaners.
  rinse water
                                Recycle wastewater.
                                Store recyclable waste indoors or in covered containers.
                                Substitute nontoxic cleaning agents when possible.
  Raw steel collection areas    Keep collection areas clean.
                                Keep materials in a covered storage bin or inside until pickup.
                                Collect scrap metals, fines, iron dust and store under cover and recycle.
  Paints and painting           Paint and sand indoors when possible.
  equipment
                                If done outside, enclose sanding and painting areas with tarps or plastic sheeting.
                                Avoid painting and sandblasting operations outdoors in windy weather conditions.
                                Use tarps, drip pans, or other spill collection devices to contain and collect spills.
                                Use effective spray equipment that delivers more paint to the target and less overspray.
                                Mix paints and solvents in designated areas away from drains, ditches, piers, and surface
                                 waters, preferably indoors or under cover.


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 Table 2. BMPs for Potential Pollutant Sources at Fabricated Metal Products Manufacturing Facilities
 (continued)
  Pollutant Source           BMPs
  Paints and painting         Have absorbent and other cleanup items readily available for immediate cleanup of spills.
  equipment (continued)
                              Allow empty paint cans to dry before disposal.
                              Keep paint and paint thinner away from traffic areas to avoid spills.
                              Recycle paint, paint thinner, and solvents.
                              Establish and implement effective inventory control to reduce paint waste, including
                               tracking date received and expiration dates.
                              Use water-based paints when possible.
                              Train employees to use the spray equipment properly.
  Metal chip storage areas    Store waste chips indoors, if possible.
                              Cover outdoors chip storage containers.
                              Place chip storage containers on asphalt or concrete surfaces.
                              Be sure fluid has completely drained before placing chips in storage containers.
                              Continue draining fluids, if necessary. This can be done as simply as tilting containers
                               towards one end and allowing excess fluids to drain through a hole into a residue
                               container.
                              Inspect area for leaks or spills.
                              Monitor and maintain containers on a regular basis. Empty storage or residue containers
                               and do not allow them to overflow.
  Hazardous waste storage     Cover and/or enclose storage areas (including temporary cover such as a tarp that
  areas                        prevents contact with precipitation).
                              All hazardous waste must be stored in sealed drums.
                              Establish centralized satellite drum-storage areas.
                              Provide secondary containment around chemical storage areas.
                              If containment structures have drains, ensure that the drains have valves, and that valves
                               are maintained in the closed position. Institute protocols for checking/testing stormwater
                               in containment areas prior to discharge.
                              Check for corrosion and leakage of storage containers.
                              Label materials clearly.
                              Properly dispose of outdated materials.
                              Dike or use grass swales, ditches, or other containment to prevent run-on or runoff in
                               case of spills.
                              Post notices prohibiting dumping of materials into storm drains.
                              Store containers, drums, and bags away from high traffic routes and surface waters.
                              Do not stack containers in such a way as to cause leaks or damage to the containers.
                              Use pallets to store containers when possible.
                              Store materials with adequate space for traffic without disturbing drums.
                              Maintain low inventory level of chemicals based on need.
                              Train employees in spill prevention and control and proper hazardous waste management


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Sector AA: Fabricated Metal Products Manufacturing Facilities



 Table 2. BMPs for Potential Pollutant Sources at Fabricated Metal Products Manufacturing Facilities
 (continued)
  Pollutant Source       BMPs
  Equipment/vehicle      Good Housekeeping
  maintenance areas
                          Eliminate floor drains that are connected to the storm or sanitary sewer; if necessary,
                           install a sump that is pumped regularly.
                          Prevent spills and drips.
                          Use drip plans, drain boards, and drying racks to direct drips back into a sink or fluid
                           holding tank for reuse.
                          Drain all parts of fluids prior to disposal. Oil filters can be crushed and recycled.
                          Promptly transfer used fluids to the proper container; do not leave full drip pans or other
                           open containers around the shop. Empty and clean drip pans and containers.
                          Dispose of greasy rags, oil filters, air filters, batteries, spent coolant, and degreasers
                           properly.
                          Label and track the recycling of waste material (e.g., used oil, spent solvents, batteries).
                          Maintain an organized inventory of materials.
                          Eliminate or reduce the number or amount of hazardous materials and waste by
                           substituting nonhazardous or less hazardous materials.
                          Clean up leaks, drips, and other spills without using large amounts of water.
                          Prohibit the practice of hosing down an area where the practice would result in the
                           exposure of pollutants to stormwater.
                          Clean without using liquid cleaners whenever possible.
                          Perform all cleaning at a centralized station so the solvents stay in one area.
                          If parts are dipped in liquid, remove them slowly to avoid spills.
                          Do not pour liquid waste down floor drains, sinks, outdoor storm drain inlets, or other
                           storm drains or sewer connections.
                         Minimizing Exposure
                          Perform all cleaning operations indoors or under covering when possible. Conduct the
                           cleaning operations in an area with a concrete floor with no floor drainage other than to
                           sanitary sewers or treatment facilities.
                          If operations are uncovered, perform them on concrete pad that is impervious and
                           contained.
                          Park vehicles and equipment indoors or under a roof whenever possible and maintain
                           proper control of oil leaks/spills
                          Inspect vehicles closely for leaks and use pans to collect fluid when leaks occur.
                         Management of Runoff
                          Use berms, curbs, grassed swales or similar means to ensure that stormwater runoff from
                           other parts of the facility does not flow over the maintenance area.
                          Collect the stormwater runoff from the cleaning area and providing treatment or
                           recycling. Discharge vehicle wash or rinse water to the sanitary sewer (if allowed by
                           sewer authority), wastewater treatment, a land application site, or recycled on-site. DO
                           NOT discharge washwater to a storm drain or to surface water.
                         Inspections and Training
                          Inspect the maintenance area regularly to insure BMPs are implemented.
                          Train employees on proper waste control and disposal procedures.


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 Table 2. BMPs for Potential Pollutant Sources at Fabricated Metal Products Manufacturing Facilities
 (continued)
  Pollutant Source            BMPs
  Vehicle fueling              Conduct fueling operations (including the transfer of fuel from tank trucks) on an
                                impervious or contained pad or under a roof or canopy where possible. Covering should
                                extend beyond spill containment pad to prevent rain from entering.
                               When fueling in uncovered area, use a concrete pad (not asphalt - not chemically
                                resistant to the fuels being handled).
                               Use drip pans where leaks or spills of fuel can occur and where making and breaking
                                hose connections.
                               Use fueling hoses with check valves to prevent hose drainage after filling.
                               Use spill and overflow protection devices.
                               Cleanup spills and leaks immediately.
                               Minimize/eliminate run-on onto fueling areas.
                               Collect stormwater runoff and provide treatment or recycling.
                               Use dry cleanup methods for fuel area rather than hosing the fuel area down. Sweep up
                                absorbents as soon as spilled substances have been absorbed.
                               Regularly inspect and perform preventive maintenance on storage tanks to detect
                                potential leaks before they occur.
                               Inspect the fueling area for leaks and spills.
                               Provide curbing or posts around fuel pumps to prevent collisions from vehicles.
                               Discourage “topping off” of fuel tanks.
                               Train personnel on vehicle fueling BMPs.
  Vehicle and equipment        Designate vehicle and equipment wash areas that drain to recycle ponds or process
  cleaning                      wastewater treatment systems.
                               Conduct vehicle washing operation indoors or in a covered area.
                               Clean washwater residue from portions of the site that drain to stormwater discharges.
                               Train employees on proper procedure for washing vehicles and equipment including a
                                discussion of the appropriate location for vehicle washing.
  Transporting chemicals to    Store drums as close to operational building as possible.
  storage areas
                               Label all drums with proper warning and handling instructions.
                               Forklift operators should be trained to avoid puncturing drums.
  Finished products            Store finished products indoors, on a wooden pallets concrete pad, gravel surface, or
  (galvanized) storage          other impervious surface.
  Wooden pallets and           Clean contaminated wooden pallets.
  empty drums
                               Cover empty drums.
                               Cover contaminated wooden pallets.
                               Store drums and pallets indoors.
                               Clean empty drums.
                               Store pallets and drums on concrete pads.




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 What if activities and materials at my facility are not exposed to
 precipitation?
 The industrial stormwater program requires permit coverage for a number of specified types of
 industrial activities. However, when a facility is able to prevent the exposure of ALL relevant activities
 and materials to precipitation, it may be eligible to claim no exposure and qualify for a waiver from
 permit coverage.
 If you are regulated under the industrial permitting program, you must either obtain permit coverage
 or submit a no exposure certification form, if available. Check with your permitting authority for
 additional information as not every permitting authority program provides no exposure exemptions.

 Where do I get more information?
 For additional information on the industrial stormwater program see
 www.epa.gov/npdes/stormwater/msgp.
 A list of names and telephone numbers for each EPA Region or state NPDES permitting authority can
 be found at www.epa.gov/npdes/stormwatercontacts.

 References
 Information contained in this Fact Sheet was compiled from EPA’s past and present Multi-Sector
 General Permits and from the following sources:
      City of Phoenix, Arizona, Street Transportation Department. 2004. Prevent Storm Water
       Contamination: Best Management Practices for Section AC - Electronic & Electrical equipment
       or components, Photographic & Optical Goods Manufacturers.
       http://phoenix.gov/STREETS/eleltrnic.pdf

      U.S. EPA, Office of Science and Technology. 1999. Preliminary Data Summary of Urban
       Stormwater Best Management Practices. EPA-821-R-99-012
       www.epa.gov/OST/stormwater

      U.S. EPA, Office of Wastewater Management. NPDES Stormwater Multi-Sector General Permit
       for Industrial Activities (MSGP).
       www.epa.gov/npdes/stormwater/msgp

      Washington State Department of Ecology. 1999. Metal Machining Sector: A Pollution
       Prevention Assessment and Guidance. Publication #99-412.
       www.ecy.wa.gov/pubs/99412.pdf




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                          EXHIBIT B


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              Qualifying Rainfall Events (.1 inches of rain or more) During Business Hours

                      NOAA National Climactic Data Center
          Stations:   COOP:047740 - SAN DIEGO LINDBERGH FIELD, CA US

        Data Types:   HPCP - Precipitation (100th of an inch)


 2009                                                           2010


 Month    Inches       Time:                                    Month    Inches     Time:
    6-Feb     0.61                                                18-Jan      0.1   4:00 PM
    7-Feb     0.74                                                19-Jan      1.4   1:00 PM
    8-Feb      0.2                                                20-Jan      7.4
    9-Feb     0.21     8:00 AM                                    21-Jan     1.65   12:00 PM
   10-Feb     0.34                                                22-Jan     1.41
   14-Feb     0.13                                                23-Jan     0.29
   16-Feb     0.62     12:00 PM                                   27-Jan     0.14
  22-Mar      0.22     11:00 AM                                    6-Feb     0.17   11:00 AM
  31-May      0.13                                                 7-Feb     0.27
    4-Jun     0.13                                               10-Feb      0.47
  29-Nov      0.35                                               20-Feb      0.49
    7-Dec     0.13     9:00 AM                                   22-Feb      0.12
    8-Dec     1.99                                               27-Feb       0.2               8
  12-Dec      0.13                                               28-Feb      1.27
  13-Dec      0.88                                                7-Mar      0.38   10:00 AM
 TOTAL        6.81                                                8-Mar       0.3
                                                                   1-Apr     0.49
                                                                   6-Apr     0.15
                                                                 12-Apr      0.65   4:30 PM
                                                                 22-Apr      0.47
                                                                   6-Oct     0.43
                                                                 20-Oct       0.9   12:00 PM
                                                                 21-Oct      0.12
                                                                 30-Oct      0.38   8:00 AM
                                                                 20-Nov      0.69   2:00 PM
                                                                 21-Nov      0.12   11:00 AM
                                                                 24-Nov      0.87
                                                                 20-Dec      0.83
                                                                 21-Dec      3.46   8:00 AM
                                                                 22-Dec      0.48   8:00 AM
                                                                 26-Dec      0.69
                                                                 30-Dec       1.8   9:00 AM
                                                                TOTAL       28.59




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              Qualifying Rainfall Events (.1 inches of rain or more) During Business Hours

                      NOAA National Climactic Data Center
          Stations:   COOP:047740 - SAN DIEGO LINDBERGH FIELD, CA US

        Data Types:   HPCP - Precipitation (100th of an inch)


 2011                                                           2012


 Month     Inches      Time:                                    Month    Inches     Time:
     3-Jan     0.85                                               23-Jan      0.2   2:00 PM
     4-Jan      0.1                                               24-Jan     0.28
   18-Feb      0.24    5:00 AM                                     7-Feb     0.23   4:00 PM
   20-Feb       0.2                                              14-Feb      0.34
   26-Feb       0.8                                              16-Feb       0.2
   27-Feb      0.22                                              28-Feb      0.72
    7-Mar       0.2                                              17-Mar      0.24   1:00 PM
  21-Mar       0.89                                              18-Mar      0.47
  22-Mar       0.14                                              25-Mar      0.43   5:00 PM
  24-Mar       0.25                                                1-Apr     0.11
  26-Mar       0.15                                              11-Apr      0.45
    9-Apr      0.14                                              13-Apr      0.33   4:00 PM
  18-May       0.73                                              26-Apr      0.61
  29-May        0.1                                               12-Oct     0.77
    4-Nov      0.34    4:00 PM                                     8-Nov     0.14
  12-Nov       1.04    1:00 PM                                     1-Dec     0.23
  12-Dec       0.96    9:00 AM                                   13-Dec       1.6   8:00 AM
 TOTAL         7.35                                              14-Dec      0.28
                                                                 15-Dec      0.37
                                                                 19-Dec      0.47
                                                                 25-Dec      0.37
                                                                 30-Dec      0.28
                                                                TOTAL        9.12




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              Qualifying Rainfall Events (.1 inches of rain or more) During Business Hours

                      NOAA National Climactic Data Center
          Stations:   COOP:047740 - SAN DIEGO LINDBERGH FIELD, CA US

        Data Types:   HPCP - Precipitation (100th of an inch)


 2013


 Month    Inches
    7-Jan     0.26
   25-Jan     0.23
   26-Jan     0.73
   27-Jan      0.1
    9-Feb     0.15
  20-Feb       0.3
   9-Mar       0.2
  21-Nov      0.28
  22-Nov       0.2
    8-Dec     0.17
  20-Dec       0.1
 TOTAL        2.72


 2014


 Month   Inches
   3-Feb     0.25
   7-Feb     0.37
  27-Feb      0.1
  28-Feb     0.46
   1-Mar     0.76
   2-Mar      0.6
   2-Apr     0.22
  26-Apr     0.13
 TOTAL       2.89




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